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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
_____________________________________
                                          )
PHARMACEUTICAL CARE                       )
MANAGEMENT ASSOCIATION,                   )
                                          )
325 7th Street, N.W., 9th Floor           )
Washington, D.C. 20004                    )
                                          )
                Plaintiff,                )
                                          )
       v.                                 )
                                          )            Case No. _____
UNITED STATES DEPARTMENT OF               )
HEALTH AND HUMAN SERVICES,                )
                                          )
200 Independence Avenue, S.W.             )
Washington, D.C. 20201;                   )
                                          )
CENTERS FOR MEDICARE & MEDICAID )
SERVICES,                                 )
                                          )
7500 Security Boulevard                   )
Baltimore, MD 21244;                      )
                                          )
UNITED STATES DEPARTMENT OF THE )
TREASURY,                                 )
                                          )
1500 Pennsylvania Ave., N.W.              )
Washington, D.C. 20220;                   )
                                          )
INTERNAL REVENUE SERVICE,                 )
                                          )
1111 Constitution Ave., N.W.              )
Washington, D.C. 20224;                   )
                                          )
UNITED STATES DEPARTMENT OF               )
LABOR,                                    )
                                          )
200 Constitution Ave., N.W.               )
Washington, D.C. 20210;                   )
                                          )
                                          )
                                          )
                                          )
                                          )
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EMPLOYEE BENEFITS SECURITY                    )
ADMINISTRATION,                               )
                                              )
200 Constitution Ave., N.W.                   )
Washington, D.C. 20210;                       )
                                              )
XAVIER BECERRA, in his official capacity      )
as Secretary of Health and Human Services,    )
                                              )
200 Independence Avenue, S.W.                 )
Washington, D.C. 20201;                       )
                                              )
CHIQUITA BROOKS-LASURE, in her                )
official capacity as Administrator of the     )
Centers for Medicare and Medicaid Services,   )
                                              )
200 Independence Avenue, S.W.                 )
Washington, D.C. 20201;                       )
                                              )
JANET YELLEN, in her official capacity as     )
Secretary of the Department of Treasury,      )
                                              )
1500 Pennsylvania Ave., N.W.                  )
Washington, D.C. 20220;                       )
                                              )
CHARLES P. RETTIG, in his official            )
capacity as Commissioner of the Internal      )
Revenue Service,                              )
                                              )
1111 Constitution Ave., N.W.                  )
Washington, D.C. 20224;                       )
                                              )
DOUGLAS O’DONNELL, in his official            )
capacity as Deputy Commissioner for           )
Services and Enforcement,                     )
                                              )
1111 Constitution Ave., N.W.                  )
Washington, D.C. 20224;                       )
                                              )
MARTIN J. WALSH, in his official capacity     )
as Secretary of the Department of Labor,      )
                                              )
200 Constitution Ave., N.W.                   )
Washington, D.C. 20210; and                   )
                                              )
                                              )
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ALI KHAWAR, in his official capacity as       )
Acting Assistant Secretary for the Employee   )
Benefits Security Administration,             )
                                              )
200 Constitution Ave NW, Suite N-5677         )
Washington, D.C. 20210                        )
                                              )
            Defendants.                       )
_____________________________________         )

                                      COMPLAINT
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                                      GLOSSARY

Term                Definition
                    Patient Protection and Affordable Care Act,
ACA
                       Pub. L. No. 111-148, 124 Stat. 119 (Mar. 23, 2010)
CBO                 Congressional Budget Office

CMS                 Centers for Medicare & Medicaid Services

EBSA                Employee Benefits Security Administration

FTC                 Federal Trade Commission

HHS                 U.S. Department of Health and Human Services

IRS                 Internal Revenue Service

PBM                 Pharmacy benefit manager

PCMA                Pharmaceutical Care Management Association

Proposed Rule       84 Fed. Reg. 65464 (Nov. 27, 2019)

Transparency Rule   85 Fed. Reg. 72158 (Nov. 12, 2020)




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       Plaintiff Pharmaceutical Care Management Association, for its complaint against

Defendants the UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES;

CENTERS FOR MEDICARE & MEDICAID SERVICES; UNITED STATES DEPARTMENT

OF THE TREASURY; INTERNAL REVENUE SERVICE; UNITED STATES DEPARTMENT

OF LABOR; EMPLOYEE BENEFITS SECURITY ADMINISTRATION; XAVIER

BECERRA, in his official capacity as Secretary of Health and Human Services; CHIQUITA

BROOKS-LASURE, in her official capacity as Administrator of the Centers for Medicare and

Medicaid Services; JANET YELLEN, in her official capacity as Secretary of the Department of

Treasury; CHARLES P. RETTIG, in his official capacity as Commissioner of the Internal

Revenue Service; DOUGLAS O’DONNELL, in his official capacity as Deputy Commissioner

for Services and Enforcement; MARTIN J. WALSH, in his official capacity as Secretary of the

Department of Labor; and ALI KHAWAR, in his official capacity as Acting Assistant Secretary

for the Employee Benefits Security Administration, alleges, by and through its attorneys, as

follows:

                                       INTRODUCTION

       1.       In November 2020, in the final days of the Trump Administration, the Department

of Health and Human Services (“HHS”)—under the leadership of Secretary Alex Azar, a former

pharmaceutical executive and lobbyist—rushed out a pair of procedurally irregular final rules

that destroy the primary (and arguably only) marketplace constraint on rising prescription drug

prices: the ability of pharmacy benefit managers (“PBM”), the principal entities tasked with

reducing drug costs for health plans and their enrollees, to privately negotiate price concessions

from drug manufacturers. Although cloaked in the language of noble-sounding ideals such as

transparency and lowering the nominal “list” prices for prescription drugs, key parts of these two

rules serve mainly to drive up the total drug price ultimately borne by health plans, taxpayers,


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and consumers by advantaging drug manufacturers in negotiations over price concessions. This

is because problematic portions of each rule force public disclosure of the terms of PBMs’

confidential negotiations with drug manufacturers, opening the door for manufacturers to tacitly

collude with each other to increase drug prices.

       2.       Plaintiff Pharmaceutical Care Management Association (“PCMA”), the national

trade association representing PBMs, brought a separate lawsuit in this Court challenging the

first of these twin regulations, the so-called “Rebate Rule,” Removal of Safe Harbor Protection

for Rebates Involving Prescription Pharmaceuticals, 85 Fed. Reg. 76666 (Nov. 30, 2020). See

PCMA v. HHS, No. 1:21-cv-95 (D.D.C. filed Jan. 12, 2021). The Rebate Rule undercut private

negotiations in the context of federally subsidized Medicare Part D prescription drug plans by

mandating that the price concessions manufacturers offer to PBMs under those plans be applied

at the point of sale—e.g., the pharmacy counter—thus allowing drug manufacturers to reverse-

engineer their competitors’ prices. After other agencies, private-sector actuarial studies, and

HHS’s own actuaries revealed the damaging consequences of disclosing this proprietary

information—an increase in net drug prices, Medicare Part D enrollee premiums, and federal

spending—PCMA led the charge against the Rebate Rule. In response to PCMA’s complaint,

which is currently pending in this Court before Judge Bates, HHS immediately offered to

stipulate to a one-year suspension of the Rebate Rule while it reviews the rule. See Order,

PCMA, No. 1:21-cv-95 (D.D.C. Mar. 15, 2021), ECF No. 27.

       3.       This lawsuit challenges parts of the second of HHS’s pair of regulations targeting

PBMs’ negotiations with drug manufacturers: the “Transparency Rule,” Transparency in

Coverage, 85 Fed. Reg. 72158, 72158 (Nov. 12, 2020). This time taking up the mantle of

transparency, HHS—joined by the Departments of the Treasury (“Treasury”) and Labor




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(“DOL”) (collectively, the “Departments”)—again seeks to force PBMs to publicly reveal the

proprietary terms of drug pricing negotiations with drug manufacturers. The Rule requires most

group health plans (both insured and self-insured) and health insurance issuers offering health

insurance coverage in the individual and group markets to make two types of disclosures, only

one of which PCMA challenges here.

       4.      The first disclosure, which PCMA does not challenge, requires health plans and

health insurance issuers to disclose cost-sharing information to individual enrollees upon request

through an internet-based self-service tool, so that consumers can estimate how much they will

pay out of pocket when purchasing prescription drugs through their health plans. PCMA is not

challenging this requirement because it strongly supports the Departments’ stated goal of

bringing meaningful and actionable transparency to health care purchasers and consumers. Even

before the Rule was proposed, PBMs were at the forefront of health care price transparency,

informing enrollees about their coverage for specific drugs and their expected out-of-pocket

costs for prescriptions, often through online tools. As the Departments recognized, “more than

90 percent of plans, issuers, and [third-party administrators] currently provide some form of

internet-based self-service tool to their consumers.” Transparency Rule, 85 Fed. Reg. at 72256.

PCMA thus “support[ed] the Departments’ intention that plans provide access to their enrollees

through an internet-based self-service tool.” PCMA Comment Letter at 2 (Jan. 29, 2020),

https://www.regulations.gov/comment/CMS-2019-0163-19236.

       5.      The second disclosure requirement is where the Rule goes astray and violates the

law. It requires plans and issuers to reveal, not to individual consumers, but to the public at

large, sensitive data about prescription drug prices—including the “historical net prices” paid

after deducting drug manufacturer price concessions—through a machine-readable file, a large




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data set in a format understandable only to computers. Though these requirements were adopted

with the purported purpose of helping consumers make informed decisions about which health

plans to purchase and how much they should expect to spend out of pocket under those plans, in

reality they offer no meaningful transparency to the consumers they supposedly benefit. Instead,

they require plans and issuers to disclose proprietary, highly confidential information that is of

no practical use to consumers, in a format (machine-readable files, which are designed to be

automatically read and processed by computers, not human beings) that no consumer could

possibly understand. And they do so without any input from the industry or public at large,

because the Departments never bothered to propose the historical net price disclosure

requirement (or anything like it) in the notice of proposed rulemaking.

       6.      The historical net price disclosure requirement achieves none of the Departments’

objectives, while simultaneously crippling one of the few proven methods of lowering

prescription drug prices: negotiated manufacturer price concessions. Prescription drug prices in

individual and group health insurance markets and a variety of federal programs are set through

private negotiations between drug manufacturers and PBMs on behalf of their plan and issuer

clients, among others (including pharmacies and wholesalers), based on discounts and rebates

from the nominal “list” prices at which manufacturers sell drugs. Health plans and health

insurance issuers hire PBMs to administer their drug benefits and negotiate price concessions

from pharmacies and manufacturers. Manufacturers, in turn, pay these price concessions to

PBMs, lowering the net price of their drugs, in order to enhance the treatment of their drugs on

plan formularies, the tiered list of drugs covered by the plan. In general, PBMs pass these

negotiated price concessions on to their health plan and health insurance issuer clients, who in

turn use these cost savings to lower premiums and cost-sharing for their enrollees.




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       7.      This entire system depends on PBMs’ ability to effectively negotiate price

concessions from drug manufacturers. And that ability, in turn, depends on PBMs’ ability to

conduct meaningful private negotiations, maintaining the details of their contracts with drug

manufacturers as trade secrets that are not publicly available, including to other drug

manufacturers. The Transparency Rule upends this long-standing and highly effective dynamic.

By forcing plans and issuers to disclose historical net prices, the Rule undermines PBMs’

bargaining power, only making it harder for them to save costs for health plans, issuers, and

ultimately, the consumer. This, of course, is the exact opposite of the Departments’ stated

purpose—and commenters would have told them that, but the Departments failed to even

propose the disclosure requirement regarding historical net prices in the notice of proposed

rulemaking, as foundational principles of administrative law require. As a result, the public was

deprived of the opportunity to provide meaningful comments on this part of the Rule.

       8.      While driving up drug prices, the requirement to disclose historical net prices

offers consumers no actionable information because net prescription drug prices are not charged

to consumers and never appear on a bill. Consumers pay monthly premiums, which are

disclosed to them before they sign up for their health coverage, plus out-of-pocket costs that are

either a fixed dollar amount or a percentage of the price charged at the pharmacy counter before

applying manufacturer price concessions. Disclosing net prices calculated after applying price

concessions thus does nothing to help consumers choose among health plans or anticipate their

individual costs, and indeed will likely only confuse them. And no individual consumer can

make heads or tails of a machine-readable file, so consumers cannot use the machine-readable

file to actually improve their knowledge about their healthcare costs. Instead, the most likely

audience for this information is drug manufacturers, who will analyze the information about their




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competitors’ prices to gain an unfair advantage in negotiations with PBMs, driving up costs for

consumers.

       9.      This deeply flawed requirement cannot stand. The Departments’ failure to seek

public input on the historical net price disclosure requirement is reason enough to set aside this

part of the Rule. But that is only the half of it. The Departments lack authority to mandate the

public disclosure of historical net prices in the first place. Their statutory authority to require

disclosures runs only to consumer-facing information that is relevant to the enrollee’s rights or

benefits under a plan, including information about plan benefit coverage and the plan or issuer’s

overall viability. 42 U.S.C. § 18031(e)(3)(A)(i)-(viii). Such information helps a consumer select

among different health plans. Information about historical net prices in a machine-readable

format, by contrast, is competitively sensitive information that is not consumer-facing and cannot

meaningfully be used by consumers to make informed healthcare choices. The Departments thus

have no business—at least, no business authorized by Congress—requiring their disclosure.

       10.     The historical net price disclosure requirement is arbitrary and capricious in

numerous other respects. Rather than achieving its intended purpose of lowering drug costs, the

Rule will only harm the vast majority of enrollees by undermining PBMs’ ability to negotiate

price concessions from manufacturers, a process that currently saves these enrollees money in

the form of lower cost-sharing and premiums. The Rule will also critically undermine HHS’s

publicly stated goal of promoting value-based arrangements to reward healthcare providers with

incentive payments based on the quality of care provided. The disclosure of historical net prices

will send the wrong market signal, leading purchasers of individual and group health insurance

coverage to focus on the unit prices of drugs purchased by their issuers and PBMs, rather than on

the value of the mix of drugs covered and dispensed. Moreover, the Departments entirely failed




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even to consider less burdensome alternatives (as they are required to do), such as limiting

disclosure to less recent, and therefore less competitively sensitive, data. And the Departments

never attempt to reconcile their newfound belief that forced disclosure of sensitive drug pricing

data could stop or decrease the cost of drugs with previous agency actions that correctly

recognized that disclosing such information would increase costs.

       11.     The requirement that plans and issuers use machine-readable files to disclose this

data also exceeds the Departments’ authority. The provision of the Patient Protection and

Affordable Care Act (“ACA”) on which the Departments rely requires that plans disclose certain

information “in plain language” “to the public,” yet simple common sense makes clear that

machine-readable files designed for computer processing are not understandable to the public.

42 U.S.C. § 18031(e)(3)(A), (B). This is also why the challenged portions of the Rule will not

further its transparency goals; a consumer cannot make use of the data in order to attend to her

everyday healthcare needs.

       12.     For all of these reasons, the Transparency Rule’s historical net price disclosure

and machine-readable file requirements must be vacated as unlawful, ultra vires, procedurally

improper, arbitrary and capricious, and contrary to the Administrative Procedure Act (“APA”).

                                            PARTIES

       13.     Plaintiff PCMA is a non-profit § 501(c)(6) corporation duly organized under the

laws of the State of Delaware, with its principal place of business in Washington, D.C. PCMA is

the national trade association representing America’s PBMs, which administer prescription drug

plans for more than 270 million Americans with health coverage through Fortune 500

companies, health insurers, labor unions, Medicare, Medicaid, the Federal Employees Health

Benefits Program, and the health insurance marketplaces.




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       14.     PBMs are the only entities in the supply chain whose mission is to lower drug

costs for health plans, health insurance issuers, and ultimately, consumers. Plans and issuers

engage PBMs to maximize the value of prescription drug benefits by negotiating price

concessions from drug manufacturers and pharmacies, in addition to providing numerous other

services. PBMs also lower costs in other ways, such as by encouraging the use of generics,

developing formularies, and helping patients with adherence to the prescribed plan of care. Two

2020 studies estimated that PBMs helped beneficiaries and payers save on average $962 per

beneficiary per year in prescription drug costs, equaling more than $1 trillion over the ensuing

decade. Visante, Inc., The Return on Investment (ROI) on PBM Services (Feb. 2020),

https://www.pcmanet.org/wp-content/uploads/2020/02/ROI-on-PBM-Services-FINAL_.pdf;

Visante, Inc., Pharmacy Benefit Managers (PBMs): Generating Savings for Plan Sponsors and

Consumers (Feb. 2020), https://www.pcmanet.org/wp-content/uploads/2020/02/Pharmacy-

Benefit-Managers-Generating-Savings-for-Plan-Sponsors-and-Consumers-2020-1.pdf. PBMs

would not serve 270 million beneficiaries through all types of health plans if they did not bring

down costs.

       15.     PCMA’s members include the following PBMs: Abarca Health, CerpassRx, CVS

Caremark, Envolve Pharmacy Solutions, Express Scripts, Humana Pharmacy Solutions,

IngenioRx, Integrated Prescription Management, Magellan Rx Management, Maxor Plus,

MedImpact Healthcare Systems, OptumRx, PerformRx, Prime Therapeutics, ProAct, RxSense,

Serve You Rx, and WellDyneRx (collectively, the “members”). PCMA’s members each

administer prescription drug benefits on behalf of health plans and their enrollees, including

enrollees who reside or purchase pharmaceuticals in Washington, D.C.




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       16.     Each of PCMA’s members has Article III standing because they will incur

development, data storage, and reporting costs in order to disclose information in the machine-

readable file format required by the Transparency Rule. Although the Rule directs plans and

issuers, rather than PBMs, to disclose information, much of that information, including historical

net prices, is uniquely in the possession of PBMs, not plans and issuers. The Departments thus

recognize that plans and issuers will need to “rely on written agreements with other parties, such

as PBMs, to obtain the necessary data to comply with the disclosure requirements.” 85 Fed. Reg.

at 72208. For that reason, the Rule specifies that a plan or issuer “may satisfy the [disclosure]

requirements . . . by entering into a written agreement under which another party (such as a PBM

or other third-party) provides the information required.” Id. Many of the plans and issuers

served by PCMA’s members accordingly have required, or are likely to require in the near

future, PCMA’s members to enter into written agreements that require PCMA’s members to

provide information required by the Rule.

       17.     Moreover, portions of the Rule require disclosure of confidential, proprietary

information, including historical net prices. By requiring public disclosure of this information,

the Rule will drastically undercut PCMA’s members’ bargaining power in negotiating drug

prices with manufacturers and reduce their ability to lower the cost of prescription drugs.

       18.     These injuries are directly and immediately traceable to the challenged parts of

the Rule and would be remedied by a judgment vacating these parts of the Rule.

       19.     PCMA has associational standing to bring this lawsuit on behalf of its members

because at least one of its members has Article III standing, the interests that PCMA seeks to

protect are germane to its organizational purpose of promoting PBMs and the proven tools they




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utilize to lower prescription drug prices, and neither the claims asserted nor the relief requested

in this lawsuit requires the participation of individual PCMA members.

       20.     Defendants are the federal agencies that jointly promulgated the Transparency

Rule and the agency officials responsible for promulgating the Rule.

       21.     Defendant HHS is an executive department of the United States federal

government that is headquartered in Washington, D.C.

       22.     Defendant Centers for Medicare & Medicaid Services (“CMS”) is an

administrative agency within HHS that is headquartered in Baltimore, Maryland. CMS is

responsible for administering multiple federal health programs and the federally facilitated

marketplace for health plans, and for regulating group health plans and health insurance issuers

providing coverage outside of the federally facilitated marketplaces.

       23.     Defendant Treasury is an executive department of the United States federal

government that is headquartered in Washington, D.C.

       24.     Defendant Internal Revenue Service (“IRS”) is an administrative agency within

the Department of the Treasury that is headquartered in Washington, D.C. The IRS is

responsible for administering tax aspects of health coverage laws.

       25.     Defendant DOL is an executive department of the United States federal

government that is headquartered in Washington, D.C.

       26.     Defendant Employee Benefits Security Administration (“EBSA”) is an

administrative agency within the Department of Labor that is headquartered in Washington, D.C.

EBSA is responsible for administering employment-based health coverage laws.




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       27.      HHS, Treasury, and DOL (collectively, the “Departments”) jointly promulgated

the Transparency Rule challenged in this lawsuit through CMS, the IRS, and EBSA,

respectively.

       28.      Defendant Xavier Becerra is Secretary of Health and Human Services. The

Secretary is a signatory to the Transparency Rule. He is sued in his official capacity.

       29.      Defendant Chiquita Brooks-LaSure is Administrator of CMS. The Administrator

is a signatory to the Transparency Rule. She is sued in her official capacity.

       30.      Defendant Janet Yellen is Secretary of the Treasury. The Secretary oversees the

Assistant Secretary of the Treasury for Tax Policy, which is a signatory to the Transparency Rule

but is currently vacant. Secretary Yellen is sued in her official capacity.

       31.      Defendant Charles P. Rettig is Commissioner of the Internal Revenue Service.

He is sued in his official capacity.

       32.      Defendant Douglas O’Donnell is Deputy Commissioner for Services and

Enforcement, a division within the IRS. The Deputy Commissioner for Services and

Enforcement is a signatory to the Transparency Rule. He is sued in his official capacity.

       33.      Defendant Martin J. Walsh is Secretary of Labor. He is sued in his official

capacity.

       34.      Defendant Ali Khawar is Acting Assistant Secretary for EBSA. The Assistant

Secretary is a signatory to the Transparency Rule. He is sued in his official capacity.

                                 JURISDICTION AND VENUE

       35.      This action arises under the ACA and the APA. This Court has subject-matter

jurisdiction over this action under 28 U.S.C. § 1331. The Court is authorized to issue the

nonmonetary relief sought herein pursuant to the APA, 5 U.S.C. §§ 702, 705, 706.

       36.      Venue is proper in this Court under 28 U.S.C. § 1391(e)(l) because this is an


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action against agencies of the United States and several officers of the United States. Defendants

HHS, Treasury, IRS, DOL, and EBSA reside in this judicial district; Defendant CMS resides in

this judicial district for purposes of this litigation, see 28 U.S.C. § 1391(c)(2); Defendants

Becerra, Brooks-LaSure, Yellen, Rettig, O’Donnell, Walsh, and Khawar perform their official

duties in this judicial district; a substantial part of the events or omissions giving rise to this

action occurred in this judicial district; Plaintiff resides in this judicial district; and no real

property is involved in the action.

                                    FACTUAL ALLEGATIONS

        LEGAL AND FACTUAL BACKGROUND

        A.      Prescription Drug Prices Are Set Through Negotiations Between Drug
                Manufacturers, Wholesalers, Pharmacies, Health Plans And Health Insurance
                Issuers, And Pharmacy Benefit Managers

        37.     Prescription drug prices in the private insurance market and a variety of federal

programs are set through negotiations between drug manufacturers, wholesalers, pharmacies,

PBMs, and health plans and health insurance issuers based on price concessions from the

nominal “list” prices at which manufacturers sell drugs to wholesalers and other larger

purchasers. Plans and issuers hire PBMs to administer their drug plans and negotiate price

concessions from pharmacies and manufacturers.




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Baylor Scott & White Health Comment Letter on Rebate Rule at 9 (July 16, 2018),

https://www.regulations.gov/document?D=CMS-2018-0075-2999.

       38.      In a typical transaction, a wholesaler acquires a drug from the manufacturer at the

list price, possibly with a discount negotiated between the wholesaler and the manufacturer. The

wholesaler then sells the drug to the pharmacy at a rate negotiated between the wholesaler and

the pharmacy.

       39.      At the point of sale—e.g., at the pharmacy counter—the pharmacy dispenses the

drug to plan enrollees under a contract between the pharmacy and the PBM, usually at a rate

negotiated in advance. Payment to the pharmacy for the drug is then shared between the enrollee

and the PBM, which reimburses the pharmacy according to the terms of the contract between the

PBM and the pharmacy. Plans then reimburse the PBM at a rate negotiated between the plan and

the PBM.

       40.      The enrollee’s out-of-pocket payment at the point of sale is determined by the

terms of his or her plan. While terms vary from plan to plan, this payment often includes 100%


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of the rate owed by the plan, up to a set deductible, then when the deductible is met, a fixed

dollar amount copayment or coinsurance equal to a percentage of the rate owed by the plan.

Deductibles, copayments, and coinsurance help control drug spending by ensuring that enrollees

bear some of the cost of their medication and are incentivized to make cost-effective decisions

between competing treatment options. These cost-sharing payments also offset plan spending,

leading to savings that plans and issuers can use to lower premiums.

        41.     In addition to negotiating prices with pharmacies, PBMs also negotiate price

concessions from manufacturers. Manufacturers typically pay price concessions to PBMs

retrospectively—i.e., in the form of rebates after the point of sale, rather than, e.g., at the

pharmacy counter—and PBMs then pass rebates on to plans and issuers. Manufacturers pay

these price concessions to PBMs, lowering the net price of their drugs, to enhance the treatment

of their drugs on plan formularies, the tiered list of drugs covered by the plan. PBM-negotiated

retrospective drug rebates are the most proven and practical method to obtain pricing

concessions from drug manufacturers.

        42.     As part of their services in administering drug plans, PBMs typically handle the

negotiations with manufacturers, make payments to pharmacies, and collect manufacturer price

concessions. Plans and issuers reimburse PBMs for the drug, and the PBMs pass manufacturer

price concessions on to the plan. PBMs may be compensated in part based on their ability to

lower drug prices, such as by being allowed by the plan to retain a portion of the price

concessions negotiated on behalf of the plan as part of their service fee. Or plans and issuers

may choose instead to pay PBMs solely in the form of service fees calculated on a per-claim or

per-enrollee basis. In general, however, PBMs pass through to plans and issuers the vast

majority of negotiated price concessions—ranging from, for example, 90.8% of rebates in the




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commercial context, to 99.6% in the Medicare context—and plans and issuers then use the price

concessions to lower enrollees’ and their own health spending. See, e.g., Pew Charitable Trusts,

The Prescription Drug Landscape, Explored at 40 (Mar. 2019), https://bit.ly/3777Ocg;

Government Accountability Office, MEDICARE PART D: Use of Pharmacy Benefit Managers

and Efforts to Manage Drug Expenditures and Utilization (July 2019), https://www.gao.gov/

assets/710/700259.pdf; see also Transparency Rule, 85 Fed. Reg. at 72233-34 (noting that

“PBMs passed through . . . 91 percent [of manufacturer rebates] in 2016”).

       43.     The total price paid by the plan or issuer after accounting for all price concessions

is referred to in the Transparency Rule as the “net price.” Because manufacturer price

concessions are typically paid after the point of sale and are not accounted for in calculating the

enrollee’s deductible, copayment, or coinsurance, the net price for a drug does not directly

determine and often will not correlate with the enrollee’s out-of-pocket cost for the drug.

       B.      Confidentiality Is Essential To The Functioning Of The Prescription Drug
               Market

       44.     The prescription drug pricing system depends on PBMs’ ability to effectively

negotiate price concessions from manufacturers. PBMs’ success in negotiations in turn depends

critically on their ability to negotiate confidentially, maintaining the details of their manufacturer

contracts as trade secrets that are not available to other drug manufacturers or otherwise

disclosed to the public.

       45.     PBMs preserve confidentiality by ensuring that the terms of any particular price

concession are not publicly disclosed or discernible to third parties, including the pharmacy at

the point of sale. Confidentiality, in turn, allows PBMs to bargain from a position of strength to

reduce drug prices. The price-concession system depends on the exercise of bargaining power

by PBMs acting on behalf of plans and issuers to counteract the pricing power of manufacturers.



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       46.     By contrast, public disclosure of sensitive pricing information negotiated between

PBMs would make it harder to negotiate and thus to save costs for plans and issuers. Generally,

when a competitor’s best offer is known, discounts offered by other manufacturers will decrease,

so as to not exceed the discount offered by the competitor, thus establishing a pricing floor. And

because for some medical conditions there are relatively few treatments available, a seller can

gain the upper hand and increase its margins with only a few data points. In effect, the public

availability of pricing information allows tacit collusion between manufacturers, who will not be

willing to offer prices below their competitors. Without the leverage afforded by the existing

system of confidential contracts with manufacturers, the ability of PBMs to extract price

concessions from manufacturers would be significantly weakened, and the total net cost paid by

health plans and issuers and their enrollees would therefore increase.

       47.     Common sense, historical evidence, and expert opinion all point to the harmful

effects of revealing this sensitive information on PBM bargaining power. Leading academic

economists are clear on this issue: Tacit collusion is real, and the availability of final net cost

information leads to higher net costs overall. Testimonies of Drs. Fiona Scott Morton and Craig

Garthwaite to the House Judiciary Committee, Subcommittee on Regulatory Reform,

Commercial and Antitrust Law (Mar. 7, 2019), https://judiciary.house.gov/calendar/eventsingle.

aspx?EventID=1976.

       48.     This consensus view—that government-enforced information sharing will raise

costs by reducing PBMs’ ability to negotiate deeper discounts on drug prices—is also the

considered opinion of several federal agencies with expertise in market analysis. These agencies

include: (1) the Congressional Budget Office (“CBO”), a “strictly nonpartisan” office that

produces “independent analyses of budgetary and economic issues to support the Congressional




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budget process,” CBO, Introduction to CBO, https://www.cbo.gov/about/overview; (2) the

Federal Trade Commission (“FTC”), which independently enforces federal antitrust laws; and

(3) CMS—one of the agencies through which the Transparency Rule was promulgated.

       49.     The CBO, in a landmark paper on the advantages and disadvantages of price

transparency in healthcare, recognized that “[t]he markets for some health care services are

highly concentrated, and increasing transparency in such markets could lead to higher, rather

than lower, prices.” CBO, Increasing Transparency in the Pricing of Health Care Services and

Pharmaceuticals, at 4 (June 5, 2008), https://www.cbo.gov/sites/default/files/110th-congress-

2007-2008/reports/06-05-pricetransparency.pdf (“CBO Transparency Study”). In “highly

concentrated” markets like the prescription drug market, “where only a small number of firms

operate, increased transparency would make it easier for those firms to observe the prices

charged by their rivals, which could lead to reduced competition between them.” Id. Hence,

“reduced competition might result if more transparent pricing revealed the prices negotiated

between insurers and providers.” Id.

       50.     The FTC shares the CBO’s view of the negative effect of disclosure of drug

prices. Based on “extensive . . . experience with PBMs,” the FTC has explained that “[i]f

pharmaceutical manufacturers learn the exact amount of the rebates offered by their competitors

. . . then tacit collusion among manufacturers is more feasible,” so that government-mandated

disclosures “may lead to higher prices for . . . pharmaceuticals.” FTC, Letter to Assemblyman

Aghazarian at 3, 9 (Sept. 7, 2004), https://www.ftc.gov/sites/default/files/documents/

advocacy_documents/ftc-comment-hon.greg-aghazarian-concerning-ca.b.1960-requiring-

pharmacy-benefit-managers-make-disclosures-purchasers-and-prospective-purchasers/

v040027.pdf (“FTC Letter”). Rules requiring such disclosure thus “may have the unintended




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consequences of limiting competition, thus increasing the cost of pharmaceuticals” by “mak[ing]

it more difficult for PBMs to generate cost savings (including rebates),” and thus “result in an

increase in health insurance premiums and reduced availability of insurance coverage for

pharmaceuticals.” Id. at 2.

       51.     CMS has expressed the same concerns about forced information sharing. In

discussing Medicare Part D—a government-subsidized prescription drug program modeled on

the commercial health insurance market—CMS has stated that “releas[ing] commercially or

financially sensitive data to the public” about confidential negotiations would undermine plan

“sponsors’ ability,” through PBMs, “to negotiate for better prices, and ultimately affect the

ability of sponsors to hold down prices for beneficiaries and taxpayers.” Medicare Program;

Medicare Part D Claims Data, 73 Fed. Reg. 30664, 30668 (May 28, 2008). Accordingly, CMS

recognized the strong “need to protect th[is] sensitive data.” Id.

               C.      The Affordable Care Act’s Disclosure Provisions Preserve The
                       Confidentiality Of Price-Concession Negotiations

       52.     Congress left the system of confidential, manufacturer drug price concessions

intact when it enacted the Patient Protection and Affordable Care Act (ACA), Pub. L. No. 111-

148, 124 Stat. 119 (Mar. 23, 2010). The ACA creates state health insurance Exchanges that

serve as a marketplace for consumers to shop for and purchase health insurance coverage. See

Vanessa C. Forsberg, Cong. Research Serv., R44065, Overview of Health Insurance Exchanges

(Apr. 29, 2021), https://crsreports.congress.gov/product/pdf/R/R44065. Under the ACA, group

health plans and health insurance issuers may offer private health insurance plans on an

Exchange if they are certified as a qualified health plan under the statute. See id.; 42 U.S.C.

§ 18021 (defining “qualified health plan”).




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       53.     Health plans and health insurance issuers that seek certification must comply

with, among other things, the “[t]ransparency in coverage” requirement that is codified at 42

U.S.C. § 18031(e). A separate provision of the ACA extends this requirement to nearly all

“group health plan[s]” and “health insurance issuer[s] offering group or individual health

insurance coverage,” including plans that are not offered through an Exchange. Id. § 300gg-15a

(citing id. § 18031(e)(3)).

       54.     Together, these provisions specify eight discrete categories of information that

plans and issuers must disclose to the public, to certain federal and state government officials,

and—for plans offered through an Exchange—to the Exchange. 42 U.S.C. §§ 18031(e), 300gg-

15a. They also authorize the HHS Secretary to require certain additional disclosures.

       55.     Section 18031(e)(3)(A) outlines the required disclosures. It provides:

       The Exchange shall require health plans seeking certification as qualified health
       plans to submit to the Exchange, the Secretary, the State insurance commissioner,
       and make available to the public, accurate and timely disclosure of the following
       information:

               (i) Claims payment policies and practices.

               (ii) Periodic financial disclosures.

               (iii) Data on enrollment.

               (iv) Data on disenrollment.

               (v) Data on the number of claims that are denied.

               (vi) Data on rating practices.

               (vii) Information on cost-sharing and payments with respect to any out-of-
               network coverage.

               (viii) Information on enrollee and participant rights under this title.

               (ix) Other information as determined appropriate by the Secretary.

42 U.S.C. § 18031(e)(3)(A)(i)-(ix).


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       56.     The eight disclosure items enumerated by Section 18031(e)(3)(A)(i)-(viii) are

mandatory. They identify categories of information that plans and issuers are always required to

provide. Each category comprises consumer-facing information relevant to enrollee’s rights or

benefits under a plan, including: (1) “plan benefit coverage information (what is covered under a

plan, how the plan is rated, the number of claims that are denied, how to receive benefits,

whether and how out-of-network services are covered)”; (2) “information on the overall health”

or viability “of the issuer” or plan (“enrollment, disenrollment, financial disclosures”); and

(3) “enrollee rights.” CVS Health Comment Letter at 4 (Jan. 29, 2020),

https://www.regulations.gov/comment/CMS-2019-0163-19008.

       57.     In addition to these mandatory disclosure items, the residual clause of Section

18031(e)(3)(A) requires plans and issuers to disclose “[o]ther information as determined

appropriate by the Secretary.” 42 U.S.C. § 18031(e)(3)(A)(ix). But nothing in the statute

suggests that Congress intended to authorize the HHS Secretary to require disclosure of

confidential, proprietary pricing information such as historical net prices. None of the eight

mandatory disclosure categories require disclosure of that type of information. Nor do net prices

relate to a consumer’s rights or benefits because that information speaks to the plan’s financial

burden, not the enrollee’s.

       58.     Section 18031(e)(3)(B) further specifies the format of the required disclosure. It

provides that “[t]he information required to be submitted under subparagraph (A) shall be

provided in plain language. The term ‘plain language’ means language that the intended

audience, including individuals with limited English proficiency, can readily understand and use

because that language is concise, well-organized, and follows other best practices of plain




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language writing.” 42 U.S.C. § 18031(e)(3)(B). The statute thus requires health plans to provide

the disclosed information in a way that the public can readily understand.

       59.     Consistent with Congress’s directive, prior to the Transparency Rule, HHS had

never exercised its authority under Section 18031(e) to require public disclosure of proprietary

pricing information such as historical net prices. Instead, it required only disclosure of the eight

categories of information specifically enumerated by Congress. See 45 C.F.R. § 156.220(a); see

also Patient Protection and Affordable Care Act; Establishment of Exchanges and Qualified

Health Plans, 77 Fed. Reg. 18310, 18417 (Mar. 27, 2012) (noting that “HHS intends that the

reporting obligations established in [45 C.F.R. § 156.220] will be aligned with the [statutory]

transparency reporting standards”).

       THE TRANSPARENCY RULE

       60.     The challenged parts of the Transparency Rule upend the established practice of

confidential price-concession negotiations, and thus undermine PBMs’ efforts to drive down

drug prices, by requiring that health plans and health insurance issuers, through their PBMs,

disclose proprietary pricing information in a machine-readable file format that will be

unintelligible to ordinary consumers and that fails to provide any actionable information to

consumers. The Departments imposed these requirements in the waning days of the Trump

Administration without notice and opportunity to comment on key aspects of the proposal that

were included for the first time in the final Rule, and despite objections from commenters that

the requirements would exceed the Departments’ statutory authority and would mislead and

confuse consumers.




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       A.      The Departments Issue A Notice Of Proposed Rulemaking That Requires
               Health Plans And Health Insurance Issuers To Disclose In-Network Rates
               And Out-Of-Network Allowed Amounts Through A Machine-Readable File,
               But Not Historical Net Prices

       61.     The Transparency Rule was a direct response to an Executive Order demanding

that agencies start the rulemaking process for a rule that would force the disclosure of

information about out-of-pocket costs to consumers. In June 2019, President Trump issued an

Executive Order that directed the Departments—HHS, Treasury, and DOL—to “issue an

advance notice of proposed rulemaking” that would require healthcare providers, insurance

issuers, and group health plans “to provide or facilitate access to information about expected out-

of-pocket costs for items or services to patients before they receive care.” Exec. Order 13877

§ 3(b), 84 Fed. Reg. 30849, 30850 (June 24, 2019).

       62.     The Departments responded by issuing a notice of proposed rulemaking in

November 2019 with regard to the Transparency Rule. See Transparency in Coverage, 84 Fed.

Reg. 65464 (Nov. 27, 2019) (“Proposed Rule”). The Departments even sped up the process,

skipping past the advance notice of proposed rulemaking stage—the step ordered by the

President—and proceeding straight to a notice of proposed rulemaking, to “more quickly

address” the issue raised in the Executive Order. Id. at 65465.

       63.     The Departments proposed to exercise the HHS Secretary’s authority under the

ACA’s “[t]ransparency in coverage” requirements, 42 U.S.C. §§ 18031(e)(3)(A), 300gg-15a, to

impose on most group health plans and health insurance issuers offering health insurance

coverage in the individual and group markets two new sets of disclosures—a “self-service-tool

requirement” and a “machine-readable file requirement”—with respect to all aspects of health

coverage, including prescription drug coverage.




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       64.     The proposed self-service-tool requirement would require plans and issuers to

disclose cost-sharing information to the plan’s enrollees upon request through an internet-based

self-service tool. The purpose of this disclosure is to allow plan beneficiaries and enrollees to

obtain an estimate of their potential cost-sharing liability for covered items and services,

including prescription drugs, that they might receive from a particular health care provider.

Proposed Rule, 84 Fed. Reg. at 65470. PCMA is not challenging the Rule’s self-service-tool

requirement, and generally “support[ed] the Departments’ intention that plans provide access to

their enrollees through an internet-based self-service tool.” PCMA Comment Letter at 2 (Jan.

29, 2020), https://www.regulations.gov/comment/CMS-2019-0163-19236. That was “no

surprise,” because plans and PBMs support “meaningful and actionable transparency,” and

already provide the public with tools to help consumers access helpful information about

prescription drug prices. Id. at 1-3.

       65.     The proposed machine-readable file requirement would require plans to

disclose—to the public at large, not just to individual enrollees—large volumes of pricing data

regarding covered health care transactions, including prescription drug purchases, through a file

format intelligible only to computers and not ordinary consumers. Proposed Rule, 84 Fed. Reg.

at 65477. As originally proposed, health plans and issuers would have been required to produce

two machine-readable files: one concerning in-network provider negotiated rates, and one

concerning out-of-network allowed amounts. Id.

       66.     The “Negotiated Rate File” would require plans and issuers to disclose the

“amount a plan or issuer, or a third party . . . on behalf of a plan or issuer, has contractually

agreed to pay an in-network provider for a covered item or service pursuant to the terms of an

agreement between the provider and the plan, issuer, or third party on behalf of a plan or issuer.”




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Proposed Rule, 84 Fed. Reg. at 65472, 65479. In the prescription drug context—where PBMs

negotiate with pharmacies to determine the price of most prescription drugs at the point of sale—

the Negotiated Rate File would cover the vast majority of drug sales.

       67.     The out-of-network “Allowed Amount File” would require plans and issuers to

disclose “the maximum amount a plan or issuer would pay for a covered item or service

furnished by an out-of-network provider.” Proposed Rule, 84 Fed. Reg. at 65473, 65479-80.

Under this requirement, plans would have to “detail each discrete out-of-network allowed

amount the plan calculated in connection with a covered item or service” during the 90-day time

period that begins 180 days prior to the publication of the machine-readable file. Id. at 65480.

Because few prescription drug transactions are out of network, the Allowed Amount File would

have less relevance in the prescription drug context.

       68.     The Departments proposed that plans and issuers would be required to provide

this information through machine-readable files posted on the internet. A machine-readable file

is a file, such as a spreadsheet, that contains tabular data in a way that can be easily processed

and exchanged by machines. See U.S. General Services Administration, A Primer on Machine

Readability for Online Documents and Data (Sept. 24, 2012), https://www.data.gov/developers/

blog/primer-machine-readability-online-documents-and-data. The Proposed Rule defined

“machine-readable file” to mean “a digital representation of data or information in a file that can

be imported or read by a computer system for further processing without human intervention,

while ensuring no semantic meaning is lost.” Proposed Rule, 84 Fed. Reg. at 65481. The

Departments specified that machine-readable files would need to use a non-proprietary format so

that any computer system could import and read the file disclosed by plans and issuers. Id. For

example, a JSON (JavaScript Object Notation), XML (eXtensible Markup Language), or CSV




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(Comma Separated Values) file is a machine-readable file; a PDF (Portable Document Format)

file is not. Id.

        69.        The Departments presented the Proposed Rule as a solution to “health care

spending.” Proposed Rule, 84 Fed. Reg. at 65477. According to the Departments, the public

availability of negotiated rates and out-of-network allowed costs would “empower consumers to

make informed decisions about their health care” by giving consumers the ability to compare

plans’ “pricing information” and “effectively shop for items and services.” Id. at 65477, 65464.

The Departments acknowledged that “due to the complexity of our health care system and the

data that drives plan and issuer payments for health care services,” data about negotiated rates

and allowed amounts “is unlikely to be usable by the average consumer.” Id. at 65478. But the

Departments predicted that requiring the public disclosure of such information would “encourage

innovation” by third parties who could “help consumers understand” the information. Id. In

turn, the Departments stated based on “[g]eneral economic theory” that “markets work best when

there is price competition,” public disclosure of negotiated rates and allowed amounts would

create “downward pressure on health care pricing” and thus lower drug prices. Id. at 65477-78.

The Departments also aimed to “reduce surprises in relation to consumers’ out-of-pocket costs

for health care services.” Id. at 65465.

        70.        As originally proposed, the machine-readable file requirement was limited to two

machine-readable files—the “Negotiated Rate File” and the “Allowed Amount File.” The

Proposed Rule did not propose disclosing an entirely separate category of drug pricing

information—historical net prices—that would ultimately end up in the final Rule.

        71.        The closest the Proposed Rule came to addressing net prices was a general request

for “comment regarding whether a rate other than the negotiated rate, such as the undiscounted




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price, should be required to be disclosed for prescription drugs, and whether and how to account

for any and all rebates, discounts, and dispensing fees to ensure individuals have access to

meaningful cost-sharing liability estimates for prescription drugs.” 84 Fed. Reg. at 65472.

Although the request raised questions about the possibility of accounting for “rebates,” it never

mentioned net prices or suggested that disclosing historical net prices would be an appropriate or

effective way to account for rebates and other price concessions. To the contrary, the request

was directly tied to the goal of “ensur[ing] [that] individuals have access to meaningful cost-

sharing liability estimates for prescription drugs,” id.—a goal not furthered by the disclosure of

historical net prices because net prices do not determine an enrollee’s cost-sharing obligations.

Further, the request occurred only in the context of discussing the internet-based self-service

tool—not the machine-readable files, where the new historical net price disclosure requirement

was ultimately added (in addition to negotiated rates). See id. at 65472-73 (asking whether and

how to disclose such information “when the consumer searches for cost-sharing information” on

the internet-based tool).

       72.     The Proposed Rule thus provided no notice that the Departments might consider

requiring plans and issuers to disclose confidential, proprietary information regarding historical

net price, let alone through a machine-readable file format targeted only at third parties rather

than consumers.

       73.     Under the Proposed Rule, the obligation to make publicly available the two

machine-readable files would apply “for plan years beginning on or after” “1 year after [the]

effective date of the final rule.” Proposed Rule, 84 Fed. Reg. at 65516, 65520, 65522.




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       B.      Commenters Raise Concerns About The Proposed Disclosure Requirements,
               But Do Not Anticipate Or Comment On The Possibility That The Final Rule
               Might Add A Requirement To Publicly Disclose Historical Net Prices

       74.     The Departments received more than 25,000 comment letters in response to the

Proposed Rule. Transparency Rule, 85 Fed. Reg. at 72167. Commenters challenged multiple

aspects of the proposed disclosure requirements, including the use of machine-readable files, and

cautioned the Departments at a high level of generality against requiring the disclosure of

proprietary information. But the comments also made clear that commenters did not understand

the Departments to be contemplating disclosure of net price information—historical or

otherwise—as evidenced by commenters’ virtual silence on the topic.

       75.     Commenters explained that the proposed machine-readable file requirement was

incompatible with the requirements of the ACA’s transparency in coverage provision and would

undermine the goal of providing actionable transparency to consumers. To ensure that

disclosures pursuant to that provision serve the needs of consumers, the ACA requires plans to

disclose required information in “plain language” that members of the public can understand. 42

U.S.C. § 18031(e)(3)(B). Commenters explained, however, that a “machine-readable file does

not consist of ‘language that the intended audience . . . can readily understand and use’” because

machine-readable file formats “are not accessible or understandable to typical consumers.”

Fed’n of Am. Hosp. Comment Letter at 3-4 (Jan. 29, 2020) (omission in original) (quoting 42

U.S.C. § 18031(e)(3)(B)), https://www.regulations.gov/comment/CMS-2019-0163-19259.

Indeed, commenters noted, the Departments had “explicitly recognize[d] that consumers will

only be able to use the information” disclosed in machine-readable files if third parties

independently developed “tools.” UnitedHealth Group Comment Letter at 13 (Jan. 29, 2020),

https://www.regulations.gov/comment/CMS-2019-0163-18837.




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       76.     Commenters further warned that relying on third-party intermediaries to translate

machine-readable files into information provided to consumers would risk confusing consumers

rather than clarifying the healthcare marketplace. PCMA, for example, advised that “[t]hird

parties who use the machine-readable files to present information to consumers are not

accountable to provide accurate information to consumers and do not have the full context to

provide accurate, actionable information; tools created outside of the plan’s purview will only

confuse enrollees.” PCMA Comment Letter, supra, at 13-14. Other commenters cautioned that

“[t]he machine-readable component of this rule . . . appear[s] more targeted at providing data to

third party application (app) developers than ensuring consumers have access to meaningful,

personalized data.” AHIP Comment Letter at 2 (Jan. 29, 2020), https://www.regulations.gov/

comment/CMS-2019-0163-18950.

       77.     Commenters also cautioned that health plans and issuers could not realistically

build the systems and compile the information necessary to comply with the machine-readable

file requirement on the timeline that the Proposed Rule set forth—i.e., “1 year after [the]

effective date of the final rule.” Proposed Rule, 84 Fed. Reg. at 65516. Put simply, the “short

implementation timeframe demonstrate[d] a lack of understanding of the steps necessary to

successfully create and implement new systems of this magnitude.” UnitedHealth Group

Comment Letter, supra, at 25. First, plans would need to understand what operational and

administrative changes would be needed to comply with the new rule’s requirements. Id.

Second, plans would need to analyze current IT systems and develop new IT systems. Id. Third,

plans would need to develop data-collection processes that could collect “hundreds of millions of

distinct data points” pulled from multiple platforms (for example, combining cost accumulator

data from member databases, plan design information from product databases, and negotiated




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rates from provider contracting databases). Id. Fourth, plans would need to examine “thousands

of provider contracts” to determine what those contracts say about the disclosure of information,

and renegotiate contracts that did not meet the final rule’s requirements. Id. at 26. Finally, plans

would need to create administrative support systems, conduct outreach to health care providers,

train support functions, and design and test the tools needed to ensure the machine-readable files

are accurate. Id.

       78.     All told, commenters explained, one year was far too short of an implementation

timeline. “Half of commercial issuers anticipate[d] it would take two years or longer to make all

necessary changes to initially develop the” required machine-readable files. AHIP Comment

Letter, supra, at 40, 42. Another 18 percent expected it would take “at least 18 months.” Id.

Accordingly, commenters urged the Departments—if they proceeded with the requirement to

publish machine-readable files—to change the implementation timeline so that the requirement

would be effective no earlier than plan or policy years beginning three years after the rule’s

effective date. Id.; see also UnitedHealth Group Comment Letter, supra, at 26.

       79.     More broadly, commenters raised concerns that the Proposed Rule went too far in

its efforts to achieve transparency, and would do more harm than good. PCMA, in particular,

emphasized the CBO’s and FTC’s “warning[s]” that “too much price transparency can lead to

tacit collusion—and thus higher prices.” PCMA Comment Letter, supra, at 17. Excessive

disclosures, PCMA explained, would allow drug manufacturers to gain valuable insight into the

price concessions that competing manufacturers had offered, “reduc[ing] negotiation leverage”

for plans and PBMs and “result[ing] in higher overall spending.” Id. at 17-18.

       80.     Commenters likewise questioned the Departments’ statutory authority to direct

the disclosure of confidential pricing information. PCMA explained that the ACA “delineates




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eight data elements . . . to be reported, as well as a ninth ‘catch all’ for similar data not otherwise

covered by the preceding data fields.” PCMA Comment Letter, supra, at 15 (citing 42 U.S.C.

§ 18031(e)(3)(A)). But the list of information that must be disclosed under the ACA—such as

“data on enrollment, data on claims denials, and information on cost-sharing”—bears little

resemblance to the types of information that the Departments were proposing to be disclosed. Id.

PCMA warned that requiring the disclosure of “confidential pricing information” would “mov[e]

well beyond the scope of the authority provided by Congress.” Id.

       81.     While commenters thus raised concerns about the disclosure of proprietary

information at a high level of generality, the vast majority of the 25,000 comments

unsurprisingly did not mention specific concerns about the disclosure of net prices, historical or

otherwise, because the Proposed Rule did not propose to require disclosure of that information.

And those that mentioned those issues did so only in passing.

       82.     PCMA, for example, expressed its general opposition to requiring disclosure of

“[a]ny information . . . beyond” the originally proposed disclosures, and briefly listed “specific

net prices or price concessions” as an example, in “keeping the proprietary nature of this

information in mind.” PCMA Comment Letter, supra, at 2, 12. But these fleeting references to

net prices comprised only two isolated sentences in PCMA’s 18-page comment letter. That

passing discussion stands in sharp contrast to the extensive discussion PCMA had devoted to the

importance of keeping net prices confidential in commenting on a related HHS rule just nine

months earlier. See PCMA Comment Letter on Rebate Rule at 6, 11, 16, 31, 33-34, 45-46, 96

(Apr. 8, 2019), https://www.regulations.gov/document?D=HHSIG-2019-0001-19773; see

Removal of Safe Harbor Protection for Rebates Involving Prescription Pharmaceuticals, 85 Fed.

Reg. 76666 (Nov. 30, 2020). It also stands in contrast to the lengthy discussion of historical net




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prices that PCMA later submitted after the Departments added a historical net price requirement

to the final Transparency Rule. See infra ¶¶ 97, 112. Given PCMA’s longstanding and vigorous

opposition to disclosure of proprietary information about prescription drug price concessions and

net prices, PCMA’s near silence on the issue in commenting on the Proposed Rule is proof

positive that the Proposed Rule did not provide notice of the Departments’ historical net price

disclosure requirement.

          C.    The Departments Promulgate A Final Rule That Retains The Machine-
                Readable File Requirement And Adds A New Requirement Forcing Public
                Disclosure Of Historical Net Prices

          83.   Despite commenters’ objections, the Department proceeded with the rulemaking.

On November 12, 2020, less than a week after President Trump’s defeat in the November

election became apparent, HHS issued a final rule—the Transparency Rule. Transparency in

Coverage, 85 Fed. Reg. 72158, 72158 (Nov. 12, 2020). The final Rule preserved the central

features of the Proposed Rule but added an additional machine-readable file requirement that

requires plans and issuers to disclose confidential, proprietary information about historical net

prices.

          84.   The Departments carried forward the Proposed Rule’s requirement that health

plans disclose cost-sharing information to a plan beneficiary or enrollee upon request through an

internet-based self-service tool. Transparency Rule, 85 Fed. Reg. at 72158. The Departments

also carried forward the requirement that health plans disclose to the public in-network provider

negotiated rates and historical out-of-network allowed amounts through a machine-readable file.

Id. The Departments noted that making this information public was designed to reduce “surprise

billing,” i.e., when consumers are “surprised by the price of a health care item or service when

they receive the bill after receiving care.” Id. at 72161.




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       85.     But the Departments strayed from the Proposed Rule by requiring the public

disclosure of a new, third category of information: historical net prices. The Departments

identified the historical net price disclosure as an “additional” requirement that the Departments

were “also adopt[ing]” on top of the previously proposed requirements—not a mere

“modificatio[n]” of a previously proposed requirement, like some other, more minor changes

adopted. Transparency Rule, 85 Fed. Reg. at 72220-21. Indeed, the Transparency Rule had to

“add” a definition for the “new” term “historic[al] net price” because that concept was

admittedly “not included in the proposed regulations.” Id. at 72178. With the Trump

Administration already on its way out the door, however, the Departments rushed this new

requirement out without providing a new notice-and-comment period—or, for that matter, any

opportunity—for commenters to weigh in on the requirement.

       86.     The Departments defined “historical net price” to mean “the retrospective average

amount a plan or issuer paid for a prescription drug, inclusive of any reasonably allocated

rebates, discounts, chargebacks, fees, and any additional price concessions received by the plan

or issuer with respect to the prescription drug.” Transparency Rule, 85 Fed. Reg. at 72236. The

net price metric thus reflects the price paid for a drug after deducting manufacturer price

concessions, including price concessions negotiated by PBMs. Id. at 72237. Under the final

Transparency Rule, plans are required to disclose historical net prices “for a 90-day period

beginning 180 days before the date a particular [machine-readable file] is published.” Id.

       87.     To authorize this additional disclosure, the Departments again purported to rely

on 42 U.S.C. § 18031(e)(3)(A)(ix)—the ACA provision that authorizes the HHS Secretary to

require the disclosure of “other information as determined appropriate.” Transparency Rule, 85

Fed. Reg. at 72167. The Departments explained that this statute allowed the HHS Secretary “to




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add additional [disclosure] items as long as those items are of similar character to the items

enumerated in the statute.” Id. The Departments took this to mean any information “useful to”

consumers who are “evaluat[ing] the coverage offered by plans and issuers,” or any information

“useful to regulators and the public” who seek to “evaluate plans’ and issuers’ business practices

and activity in the market.” Id. The Departments thus read the ACA to grant the HHS Secretary

“broad flexibility to require the disclosure of information as appropriate to deliver the

transparency necessary for consumers to understand their coverage options and for regulators to

hold plans and issuers accountable.” Id. at 72167-68. The Departments did not explain how the

public disclosure of historical net prices specifically fit within these supposed limits.

         88.   To justify this additional disclosure, the Departments stated that disclosing

information about the historical net price for prescription drugs—including “rebates and other

price concessions that are included in the net price”—was necessary to “achieve the goals of the”

final Rule. Transparency Rule, 85 Fed. Reg. at 72237. As in the Proposed Rule, the

Departments reasoned that the public availability of drug pricing information—now including

historical net prices—would give consumers information needed to “make informed decisions

about their health care,” which would in turn “spur competition in health care markets” and

ultimately “slow or potentially reverse” the rising cost of health care items and services. Id. at

72212.

         89.   In response to comments that requiring the disclosure of proprietary information

could undermine the negotiating power that PBMs currently use to lower drug prices in the

unique context of the healthcare market, see supra ¶ 79, the Departments asserted that

“traditional market forces that affect prices in any market, including competition between

providers . . . and the increased bargaining power of consumers” supported their decision. Id. at




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72216. The Departments “recognize[d] that provider collusion could result in increased prices,”

but concluded that these consequences “will be mitigated to some extent by the actions of state

and Federal regulatory and antitrust enforcement authorities and the enforcement of current

market laws and regulations.” Id. at 72267 (emphasis added).

       90.     To accommodate the addition of historical net prices as a third category of

information in addition to negotiated rates and out-of-network allowed amounts, the

Transparency Rule instructs plans to submit and publish “three machine-readable files” instead

of the original two. Transparency Rule, 85 Fed. Reg. at 72158 (emphasis added). Specifically,

the Departments separated out prescription drug pricing disclosures that would have been

included as part of the “Negotiated Rate File” under the Proposed Rule into a separate file,

termed the “Prescription Drug File.” Id. at 72221. Historical net prices are part of the new

“Prescription Drug File.” Id. The Departments further changed the name of the “Negotiated

Rate File” to the “In-Network File” to reflect the modifications made in the final Transparency

Rule. Id.

       91.     The Departments brushed off commenters’ concerns that disclosing information

in machine-readable files would not satisfy the ACA’s requirement for “plain language”

disclosures by plans to typical consumers. Transparency Rule, 85 Fed. Reg. at 72169. The

Departments acknowledged that the “information included in the machine-readable files may not

be easy for an average consumer to navigate” on their own, and admitted that for the information

to “ultimately benefit consumers,” it would need to be “aggregate[d], standardize[d], and

interpret[ed].” Id. at 72234, 72241. In the Departments’ view, unregulated third parties could do

that job: “application developers will be able to access the data” for themselves, and then

incorporate that data into “internet-based tools and mobile applications that will present




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information to laypersons in easy-to-understand, plain language.” Id. at 72169. That prospect,

the Departments explained, satisfied the plain language requirement because the “application

developers” comprised part of the “intended audience for the information” and because those

developers could use the machine-readable files to convey information in a format that is

“accessible or understandable to the typical consumer.” Id.

         92.   Finally, the Departments retained the implementation timeline for plans and

issuers to publish machine-readable files: The relevant provisions regarding “requirements for

public disclosure” of machine-readable files would “apply for plan years beginning on or after

January 1, 2022.” Transparency Rule, 85 Fed. Reg. at 72304; see also id. at 72252. The

Departments acknowledged that the “majority of commenters strongly recommended delaying

the proposed applicability date for the . . . machine-readable file requirements of the rules for at

least one year and up to five years from publication of the final rules,” id. at 72252, but the

Departments expressed their “view that developing the machine-readable files should be

straightforward for most plans and issuers” because the “development activities needed to

establish the machine-readable files involve gathering, formatting, and making publicly available

already existing data that plans and issuers use in their everyday operations,” id. at 72253.

         93.   The Transparency Rule took effect on January 1, 2021. See 85 Fed. Reg. at

72158. The machine-readable file requirement is set to take effect on January 1, 2022. Id. at

72305.




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       94.    The format for the machine-readable file is still being developed by the

Departments, and plans and issuers are not yet required to start producing data, so no completed

machine-readable file is publicly available. However, CMS has published preliminary

“[i]mplementation [e]xamples” of the machine-readable files that will be required under the

Transparency Rule. CMS, Transparency in Coverage Technical Implementation Guide,

https://github.com/CMSgov/price-transparency-guide. The example Prescription Drug File, see

CMS, price-transparency-guide (last visited August 9, 2021), https://github.com/CMSgov/price-

transparency-guide/blob/master/examples/prescription-drugs/prescription-drugs.json, is

reproduced below, and attached as Exhibit A.




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       95.     The above example shows information related to just one drug, including two

individualized price entries and the pharmacies for which the price applies. The machine-

readable files that plans and issuers ultimately submit under Section 18031(e)(3)(A) would cover

prices for tens of thousands of drugs, at hundreds of pharmacies each, and thus will be orders of

magnitude larger and more complex than CMS’s singular machine-readable file prototype.

       D.      After The Rule Is Published, CMS Issues An Information Collection Request
               As Required By The Paperwork Reduction Act

       96.     The public’s first opportunity to say anything about the Transparency Rule’s

historical net price requirement came more than a month after the Rule was adopted. On

December 30, 2020, CMS published an Information Collection Request, as required by the

Paperwork Reduction Act of 1995, 44 U.S.C. §§ 3501-3520, seeking input on the “burden,”

“necessity,” “utility,” or “any other aspect” of producing to CMS the information required by the

Transparency Rule, including “historical net prices” and “machine-readable files.” Agency

Information Collection Activities: Proposed Collection; Comment Request, 85 Fed. Reg. 86567,

86567-68 (Dec. 30, 2020) (“Information Collection Request”).

       97.     In response to the Information Collection Request, PCMA and others voiced

concerns with the historical net price requirement, including that the requirement “was not

included in the proposed rule” and PCMA and other stakeholders lacked “notice” that such a

requirement was under consideration. PCMA Comment Letter on Information Collection

Request at 1-5 (Mar. 1, 2021), https://www.regulations.gov/comment/CMS-2021-0002-0005; see

also, e.g., AHIP Comment Letter on Information Collection Request at 2 (Mar. 1, 2021),

https://www.regulations.gov/comment/CMS-2021-0002-0008; UnitedHealth Group Comment

Letter on Information Collection Request at 6 (Mar. 1, 2021), https://www.regulations.gov/

comment/CMS-2021-0002-0003; CVS Health Comment Letter on Information Collection



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Request at 3 (Mar. 1, 2021), https://www.regulations.gov/comment/CMS-2021-0002-0006. But

by then, the Rule was already on the books, with the compliance date looming, and the only issue

that remained was approval by the Office of Management and Budget for the information

collection.

       MULTIPLE PROVISIONS OF THE TRANSPARENCY RULE ARE CONTRARY TO LAW AND
       VIOLATE THE ADMINISTRATIVE PROCEDURE ACT

       98.     The Transparency Rule forces the public disclosure of historical net prices, and

requires that this and other confidential information be disclosed through machine-readable files.

Each of these two requirements exceeds the Departments’ statutory authority and violates the

APA for multiple, independent reasons.

       A.      The Transparency Rule’s Historical Net Price Disclosure Requirement Is
               Unlawful

       99.     The Transparency Rule’s requirement that plans disclose historical net prices is

unlawful for three reasons. First, it violates the APA’s notice-and-comment-rulemaking

provisions because the requirement is not a logical outgrowth of the Proposed Rule, which never

indicated that any requirement for plans to disclose historical net prices was being considered,

therefore depriving PCMA and others in the public from a meaningful opportunity to comment.

Second, the Departments lack statutory authority to mandate disclosure of confidential,

proprietary information about drug prices, including net prices. Third, the requirement is

arbitrary and capricious in violation of the APA.

               1.     The Historical Net Price Disclosure Requirement Is Not A Logical
                      Outgrowth Of The Proposed Rule

       100.    The historical net price disclosure requirement falters at the outset because it is

not a “logical outgrowth” of the Proposed Rule, as basic principles of administrative law

require.



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         101.   Under the APA, an agency must “make its views known to the public in a

concrete and focused form so as to make criticism or formulation of alternatives possible,” HBO,

Inc. v. FCC, 567 F.2d 9, 36 (D.C. Cir. 1977), and “describe the range of alternatives being

considered with reasonable specificity,” Portland Cement Ass’n v. EPA, 665 F.3d 177, 192 (D.C.

Cir. 2011). The agency necessarily must provide that notice before adopting the final rule so that

the public can offer input and the agency can respond to it; otherwise, the “opportunity to

comment is meaningless.” HBO, 567 F.2d at 35.

         102.   Although an agency can adopt a rule that differs from its proposal, it may do so

“only if interested parties should have anticipated that the change was possible, and thus

reasonably should have filed their comments on the subject during the notice-and-comment

period.” Env’t Integrity Project v. EPA, 425 F.3d 992, 996 (D.C. Cir. 2005) (quotation marks

omitted). Put differently, “[t]he [notice of proposed rulemaking] and the final rule need not be

identical,” but the final rule must be a “logical outgrowth of [the] notice.” Ass’n of Private

Sector Colls. & Univs. v. Duncan, 681 F.3d 427, 461 (D.C. Cir. 2012) (quotation marks omitted).

“A final rule qualifies as a logical outgrowth if interested parties should have anticipated that the

change was possible, and thus reasonably should have filed their comments on the subject during

the notice-and-comment period.” Id. (quotation marks omitted). “The object, in short, is one of

fair notice.” Long Island Care at Home, Ltd. v. Coke, 551 U.S. 158, 174 (2007). And “the mere

mention” of a possible alternative to the proposed regulation is insufficient alone to satisfy that

“notice requirement.” CSX Transp., Inc. v. Surface Transp. Bd., 584 F.3d 1076, 1082 (D.C. Cir.

2009).

         103.   Here, the Departments flouted these basic principles of administrative law by

adopting a disclosure requirement that it never formally proposed or gave notice that it was




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considering, and on which public input was neither invited nor provided. The Proposed Rule

concerned disclosure of two kinds of information through machine-readable files: in-network

provider negotiated rates, and historical out-of-network allowed amounts. 84 Fed. Reg. at

65477. But the Proposed Rule never proposed requiring the disclosure of a third, additional

machine-readable file including historical net prices for prescription drugs. It never gave any

indication that the Departments were considering doing so. And the Departments never solicited

comment on such a requirement. Stakeholders, therefore, lacked notice to advise the

Departments of the significant issues that would arise from this separate and distinct

requirement.

       104.    The Departments’ new historical net price disclosure requirement marks a

significant departure from the original proposal and its historical antecedents, both substantively

and structurally, as the Departments admit in the Transparency Rule. The Rule identifies the

historical net price disclosure as an “additional” requirement that the Departments are “also

adopt[ing]” on top of the two previously proposed requirements—not a mere “modificatio[n]” of

a previously proposed requirement, like some other, more minor changes adopted. 85 Fed. Reg.

at 72220-21. Indeed, the Transparency Rule had to “add” a definition for the “new” term

“historic[al] net price” because that concept was admittedly “not included in the proposed

regulations.” Id. at 72178.

       105.    Substantively, the Transparency Rule’s added requirement to disclose historical

net prices raises unique and separate issues that the Departments have not adequately

addressed. The asserted purpose of the disclosures in the Proposed Rule was to help consumers

“effectively shop for items and services,” 84 Fed. Reg. at 65464, but net prescription drug prices

are not charged to consumers. The new disclosures thus do nothing to promote the objective of




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guarding against “[s]urprise billing,” 85 Fed. Reg. at 72161, because net prices never appear on

a bill, see, e.g., CVS Health Comment Letter on Information Collection Request, supra, at 2

(“Historical net price is not a consumer-facing price or cost and it provides consumers with no

information on what they will be required to pay for a drug at the pharmacy counter under their

plan.”); UnitedHealth Group Comment Letter on Information Collection Request, supra, at 6

(“Therefore, the inclusion of historical net price does not follow CMS’ stated intent of the

transparency rule, which is to enable patients to shop for healthcare items and services most

efficiently.”).

        106.      The new historical net price disclosure requirement also raises important issues

that are distinct from the issues raised by the Proposed Rule. The Departments, for example,

concluded that “the final rules do not implicate trade secrets,” as several commenters had

objected, because “[c]ritically, . . . negotiated rates are routinely disclosed to beneficiaries” in

explanations of benefits (“EOBs”). 85 Fed. Reg. at 72173, 72175; see also Proposed Rule, 84

Fed. Reg. at 65470 (concluding that because “all of the information that would be required to be

disclosed under these proposed rules is currently disclosed in EOBs that plans and issuers

provide to individuals as a matter of course after services have been furnished,” the proposal

“does not pose any greater risk to plan or issuer proprietary information”). Even if that were

true, that reasoning does not apply to net prices, which are not disclosed on EOBs. PCMA

Comment Letter on Information Collection Request, supra, at 4; see also AHIP Comment Letter

on Information Collection Request, supra, at 2 (“CMS should seek stakeholder input on

historical net prices through notice and comment rulemaking and align prescription drug

reporting requirements to . . . ensure neither data reported to the Secretaries nor disclosed to the

public discloses confidential or trade secret information.”). These unexpected and unexamined




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issues are precisely what notice and comment, and the logical-outgrowth doctrine, are designed

to prevent.

       107.    Structurally, the belated addition of the historical net price disclosure requirement

also fundamentally departs from the original proposal. The Proposed Rule repeatedly explained

that it set out to provide a universal set of healthcare-pricing disclosures through one internet-

based self-service tool and “two machine-readable files” reflecting, respectively, in- and out-of-

network rates for both drugs and other services. 84 Fed. Reg. at 65464. But the Transparency

Rule grafts onto this across-the-board structure an additional, drug-specific disclosure that

purportedly “reflect[s] the unique attributes of prescription drug pricing.” 85 Fed. Reg. at

72234. In other words, this new drug-only requirement admittedly addresses drug-specific issues

distinct from the overarching transparency issues addressed in the Proposed Rule. Where a final

rule “d[oes] more” and different things than a prior proposal, the agency’s “flip-flop complies

with the APA only if preceded by adequate notice and opportunity for public comment.” Env’t

Integrity Project, 425 F.3d at 997; see also Int’l Union, United Mine Workers v. MSHA, 407 F.3d

1250, 1260 (D.C. Cir. 2005) (a final rule fails the logical-outgrowth test where it is “more

expansive, more specific, and ha[s] a different emphasis in the regulatory structure” than the

Proposed Rule).

       108.    The new requirement also departs significantly from the precedents and prior

authorities on which the Departments purported to build, which did not require disclosure of net

prices, historical or otherwise. Specifically:

       a.      The Proposed Rule purports to “fulfill the Departments’ responsibility under

               Executive Order 13877,” 84 Fed. Reg. at 65465, but that Executive Order does

               not even mention net prices, rebates, or price concessions, see 84 Fed. Reg. 30849




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     (June 27, 2019). Instead, such practices were addressed by the Trump

     Administration in an entirely separate Executive Order implemented in a separate

     rulemaking proceeding, which is now in abeyance pending ongoing litigation by

     PCMA. Exec. Order 13939, Lowering Prices for Patients by Eliminating

     Kickbacks to Middlemen, 85 Fed. Reg. 45759, 45759 (July 24, 2020); see

     generally PCMA v. HHS, No. 1:21-cv-95 (D.D.C. filed Jan. 12, 2021); see id.,

     ECF No. 27 at 1 (postponing the effective dates of the rulemaking and staying the

     case).

b.   The Proposed Rule also repeatedly relies on states’ previous “transparency

     initiatives,” 84 Fed. Reg. at 65467, but identifies no prior state regime that

     required disclosure of historical net prices.

c.   The Proposed Rule claims to have “modeled” its disclosure requirements “on

     existing notices that plans and issuers generally provide to participants,

     beneficiaries, or enrollees after health care items and services have been

     furnished,” 84 Fed. Reg. at 65470, but those notices do not disclose net prices or

     price concessions for prescription drugs.

d.   The Proposed Rule purports to draw on the conclusions of the 2018 inter-

     Department report “Reforming America’s Healthcare System Through Choice

     and Competition,” see 84 Fed. Reg. at 65465 & n.2, but that report nowhere

     mentions net prices, pharmaceutical rebates, or price concessions, see Azar,

     Mnuchin, & Acosta, Reforming America’s Healthcare System Through Choice

     and Competition (Dec. 3, 2018), https://www.hhs.gov/sites/default/files/

     Reforming-Americas-Healthcare-System-Through-Choice-and-Competition.pdf.




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       109.    Not only does the historical net price disclosure requirement lack grounding in the

precedents and prior authorities on which the Departments purport to rely, but the Proposed Rule

itself gave no notice that the Departments were even considering requiring such disclosure. The

closest the Proposed Rule ever came to this topic was a general request for “comment regarding

whether a rate other than the negotiated rate, such as the undiscounted price, should be required

to be disclosed for prescription drugs, and whether and how to account for any and all rebates,

discounts, and dispensing fees to ensure individuals have access to meaningful cost-sharing

liability estimates for prescription drugs.” 84 Fed. Reg. at 65472. But this request says nothing

about net prices. Instead, it mentions the opposite—the “undiscounted price.” And it asks for

comment about what disclosures would be needed to “ensure that individuals have access to

meaningful cost-sharing liability estimates for prescription drugs,” id.—a goal not furthered by

the disclosure of historical net prices because net prices do not determine enrollees’ cost-sharing

obligations. Further, this “discussion in the preamble to the proposed rules occurred in the

context of the third content element (negotiated rates) for the internet-based self-service tool”—

not the machine-readable files, where the new historical net price disclosure requirement was

ultimately added (in addition to negotiated rates). 85 Fed. Reg. at 72235 n.191; see Proposed

Rule, 84 Fed. Reg. at 65472-73 (asking whether and how to disclose such information “when the

consumer searches for cost-sharing information” on the internet-based tool).

       110.    Comment letters submitted during the rulemaking proceedings provide yet further

proof that stakeholders lacked notice that disclosure of net prices was under consideration. Only

a handful of comments on the Proposed Rule—out of “over 25,000” received, 85 Fed. Reg. at

72167—even mentioned “net prices” or price concessions. At least one commenter, the

American Pharmacists Association (“APhA”), took advantage of the Proposed Rule to advocate




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for disclosure of net prices. See APhA Comment Letter at 2-3 (Jan. 29, 2020),

https://www.regulations.gov/comment/CMS-2019-0163-19527 (advocating the wholesale

substitution of “net price” for “negotiated price” in the proposed disclosures, an alternative that

the Transparency Rule did not adopt). But this is of no moment. Commenters often go beyond a

proposed rule in advocating for their own pet causes, and other “parties cannot be expected to

monitor all other comments submitted to an agency.” Fertilizer Inst. v. EPA, 935 F.2d 1303,

1312 (D.C. Cir. 1991); see also AFL-CIO v. Donovan, 757 F.2d 330, 340 (D.C. Cir. 1985) (two

“isolated comments” on an issue, out of “some 1600” received, do not indicate “[r]easonable”

notice of that issue).

        111.    Entities opposed to historical net price disclosure said nothing or very little in

comments on the Proposed Rule, and have subsequently indicated, in response to CMS’s

December 30, 2020 Information Collection Request published after adoption of the final Rule,

for purposes of Office of Management and Budget approval under the Paperwork Reduction Act,

85 Fed. Reg. 86567 (Dec. 30, 2020), that they lacked notice of this issue’s consideration. For

example, AHIP did not even mention net prices in its 57-page comments on the original

Proposed Rule, see AHIP Comment Letter, supra, but later urged in response to the

Transparency Rule that “CMS should seek stakeholder input on the requirement for historical net

prices,” which “was not included in the proposed rule” and raised “significant concerns” that

caused AHIP to “strongly recommend CMS not proceed” with it. AHIP Comment Letter on

Information Collection Request, supra, at 2. UnitedHealth Group likewise later objected that

“[i]nclusion of historical net prices for prescription drugs was not required by the proposed

transparency rule and, as a result, any feedback stakeholders might have otherwise provided

regarding this data was not addressed in the [Transparency] Rule.” UnitedHealth Group




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Comment Letter on Information Collection Request, supra, at 6. And CVS Health later

explained that “should CMS wish to proceed with requiring this data element despite the

statutory concerns, the agency must issue a new notice of proposed rulemaking to allow full

public comment and address the operational, competitive and policy concerns” raised by the

“inclusion of historical net price,” because “there was no public opportunity to comment on it or

raise concerns about its inclusion”—a “fatal deficiency in the rulemaking process.” CVS Health

Comment Letter on Information Collection Request, supra, at 3.

       112.    PCMA, too, later explained that “[t]he final rule’s provision regarding the

inclusion of historical net prices for prescription drugs in the [machine-readable file] was not

included in the proposed rule,” and neither PCMA nor other stakeholders ever had “notice” that

such a requirement was under consideration. PCMA Comment Letter on Information Collection

Request, supra, at 2. If PCMA had properly “been given notice regarding the potential inclusion

of this data element, PCMA would have commented in opposition for several reasons” that it did

not otherwise see any need to raise in its comments on the Proposed Rule. Id. Indeed, PCMA

did raise many of these same objections nearly a year earlier in comments on a separate

rulemaking that actually did provide notice that information about price concessions was at

issue. See PCMA Comment Letter on Rebate Rule, supra. There can thus be no question that

PCMA’s “comments would have been different” had it received proper notice. City of

Waukesha v. EPA, 320 F.3d 228, 246 (D.C. Cir. 2003).

       113.    In sum, the tiny fraction of comments to even touch on the issue of net prices

evince no notice of any particular proposal by the Departments to require the disclosure of net

prices, historical or otherwise, let alone the specific requirement ultimately adopted in the final

Transparency Rule. Because the vast majority of affected stakeholders did not even think the




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issue was relevant, much less being considered for embodiment in a new rule, a reviewing court

“cannot conclude that the ‘purposes of notice and comment have been adequately

served.’” Ass’n of Private Sector Colls. & Univs., 681 F.3d at 462. The historical net price

disclosure requirement should be set aside for this reason alone.

                2.      The ACA Does Not Authorize The Disclosure Of Historical Net Prices

        114.    Like all federal agencies, the Departments “literally ha[ve] no power to

act . . . unless and until Congress confers power upon [them].” Am. Library Ass’n v. FCC, 406

F.3d 689, 698 (D.C. Cir. 2005) (omission in original) (quoting La. Pub. Serv. Comm’n v. FCC,

476 U.S. 355, 374 (1986)). Congress did not confer power on the Departments to require the

disclosure of historical net prices.

        115.    As authority for the Transparency Rule, including the disclosure requirements for

historical net prices, the Departments invoked 42 U.S.C. § 18031(e)(3)(A). The first eight

subsections of that provision enumerate eight specific pieces of “information” that plans must

“make available to the public.” Id. § 18031(e)(3)(A)(i)-(viii). Historical net prices are not listed

in the statute as information that must be disclosed, and the Departments did not contend

otherwise in the Transparency Rule.

        116.    Instead, the Departments invoked the ninth subsection, a residual clause that

delegates to the HHS Secretary the authority to require the disclosure of “[o]ther information as

determined appropriate by the Secretary.” 42 U.S.C. § 18031(e)(3)(A)(ix); see Transparency

Rule, 85 Fed. Reg. at 72209, 72212. But this residual clause is not a roving license to command

the disclosure of any information of the Departments’ choosing. For several reasons, historical

net prices do not fall within Congress’s authorization.

        117.    The phrase “[o]ther information as determined appropriate by the Secretary,” like

all statutory provisions, must be read in its full context. Here, this phrase is preceded by a list of


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eight specific kinds of information that Congress deemed necessary to disclose to the public.

Under the well-worn, common-sense rule of ejusdem generis, a general residual clause is

“limit[ed]” to “matters similar to those specified” in preceding enumerated items. Gooch v.

United States, 297 U.S. 124, 128 (1936). The Departments recognized as much, explaining that

the statute allowed the HHS Secretary “to add additional [disclosure] items as long as those

items are of similar character to the items enumerated in the statute.” 85 Fed. Reg. at 72167.

Accordingly, the eight enumerated categories of information in Section 18031(e)(3)(A) ensure

that the ninth residual clause is not “standardless.” Cement Kiln Recycling Coal. v. EPA, 493

F.3d 207, 221 (D.C. Cir. 2007) (interpreting the phrase “other factors as may be appropriate” in

another statute).

       118.    The eight enumerated items preceding the ninth residual clause require the

disclosure of information relevant to a consumer’s rights or benefits under a health plan. The

list, in full, provides that health plans must disclose the following information:

       (i) Claims payment policies and practices.

       (ii) Periodic financial disclosures.

       (iii) Data on enrollment.

       (iv) Data on disenrollment.

       (v) Data on the number of claims that are denied.

       (vi) Data on rating practices.

       (vii) Information on cost-sharing and payments with respect to any out-of-
       network coverage.

       (viii) Information on enrollee and participant rights under this title.

       (ix) Other information as determined appropriate by the Secretary.

42 U.S.C. § 18031(e)(3)(A)(i)-(ix).



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       119.    Each of the eight enumerated items involves consumer-facing information that

helps consumers understand what rights and benefits a plan or issuer provides under its health

care coverage, and in turn helps consumers select among different health plans. See CVS Health

Comment Letter, supra, at 4. With the statutory disclosures, consumers can learn information

about the plan benefit coverage, such as what is covered under a plan, how the plan is rated, what

they can expect when they claim covered benefits, how to receive benefits, and whether and how

out-of-network services are covered. 42 U.S.C. § 18031(e)(3)(A)(i), (v)-(vii). Consumers can

also learn information about the overall health of the plan or issuer. Id. § 18031(e)(3)(A)(i)-(iii).

And consumers can learn information about what rights they would have were they to enroll in a

plan. Id. § 18031(e)(3)(A)(viii). This kind of “practical information” gives “consumers insight

into plan features and practices that affect how easily a patient might actually access care

covered under a plan.” Kaiser Family Found., Health Insurance Transparency Under the

Affordable Care Act (Mar. 8, 2012), https://bit.ly/3kfb0dF. That such disclosures help a

consumer understand their rights and benefits under a plan is unsurprising: The statute expressly

aims to achieve “[t]ransparency in coverage.” 42 U.S.C. § 18031(e)(3) (emphasis added).

       120.    Information about historical net prices, in contrast, is competitively sensitive

information that is not consumer-facing and is not used by consumers to understand what rights

and benefits they would have if they select any particular health plan. Net prescription drug

prices “are not charged to members.” PCMA Comment Letter on Information Collection

Request, supra, at 4. They do not appear on a bill. They are “not a consumer-facing price” and

provide consumers “with no information on what they will be required to pay for a drug at the

pharmacy counter under their plan.” CVS Health Comment Letter on Information Collection

Request, supra, at 2. Providing historical net prices to the public is, in sum, not “actionable




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transparency”—it is counterproductive transparency. PCMA Comment Letter, supra, at 1

(emphasis added). Accordingly, the historical net prices that must be disclosed under the

Transparency Rule are wholly distinct from the kinds of information that Congress specified

should be disclosed under the ACA’s transparency in coverage requirement.

       121.    In addition, nothing in Section 18031(e)(3)(A) suggests that Congress intended to

authorize the Departments to significantly alter the way that PBMs negotiate drug prices with

manufacturers—much less that Congress “sp[oke] clearly” about this topic, as it must if it

wished to assign the Departments authority over such an economically and politically significant

question. Util. Air Regulatory Grp. v. EPA, 573 U.S. 302, 324 (2014); see also U.S. Telecom

Ass’n v. FCC, 855 F.3d 381, 417 (D.C. Cir. 2017) (Kavanaugh, J., dissenting from denial of

rehearing en banc) (explaining that the Supreme Court requires “clear congressional

authorization for major agency rules”).

       122.    As discussed, private negotiations are utterly central and of enormous importance

to PBMs, health plans, and the healthcare industry more broadly. Confidentiality allows PBMs

and manufacturers to negotiate on a level playing field and at arms’ length, which helps drive

down the price of prescription drugs. See supra ¶¶ 44-51, 79. It is highly unlikely that Congress

would give the Departments authority to upend that system and change how prescription drugs

are competitively priced through a subtle, and generic, statutory residual clause. Congress does

not “hide elephants in mouseholes.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001).

       123.    The Transparency Rule’s conceded economic impact and public attention to it is

further reason to doubt that Congress intended to authorize it sub silentio. As the Departments

explained, the Transparency Rule is “likely to result in an annual effect on the economy of $100

million or more,” and will impact “1,959” entities as well as all 50 states. Transparency Rule, 85




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Fed. Reg. at 72294, 72269. And the country has been engaged in a years-long debate over how

the health care industry operates and is priced. The Transparency Rule itself drew significant

public attention. See, e.g., Christine M. Clements et al., Trump Administration Finalizes the

Transparency in Coverage Rule, Nat’l Law Review (Nov. 12, 2020), https://bit.ly/3hCuyqL.

More broadly, drug prices (and who pays for them) is a prominent issue that will affect almost

every American at some point in their lives. Given the massive economic and political

consequences of changing how drug pricing works in this country, the Transparency Rule cannot

be said to regulate an interstitial matter, and it cannot be said that authority to regulate other

matters as deemed appropriate clearly gave the Departments authority to issue the Transparency

Rule.

        124.    The statutory context further confirms that Section 18031(e)(A)(ix) does not

permit the Departments to order the disclosure of historical net prices. See K Mart Corp. v.

Cartier, Inc., 486 U.S. 281, 291 (1988) (“[T]he court must look to the particular statutory

language at issue, as well as the language and design of the statute as a whole.”). A separate

statutory provision, also part of the ACA, already requires some of the health insurance issuers

and PBMs affected by the Transparency Rule—those that manage prescription drug coverage on

behalf of health plans sold on the ACA Exchanges—to provide to the HHS Secretary

information with the principal information needed to calculated historical net prices: information

about the “amount” and “type” of “rebates, discounts, or price concessions . . . that the PBM

negotiates that are attributable to patient utilization under the plan,” as well as the “amount . . .

passed through to the plan sponsors.” 42 U.S.C. § 1320b-23(b)(2). To preserve the

confidentiality of net prices, however, Congress limited the disclosure to “aggregate” data, id.,

rather than drug-specific pricing information, id.; see also AHIP Comment Letter, supra, at 36.




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Even as to this aggregate information, moreover, Congress required disclosure only to the HHS

Secretary—not to the public—and required the HHS Secretary to keep this information

“confidential.” 42 U.S.C. § 1320b-23(c).

       125.    Courts must “interpret [a] statute as a symmetrical and coherent regulatory

scheme,” and fit “all parts into an harmonious whole.” FDA v. Brown & Williamson Tobacco

Corp., 529 U.S. 120, 133 (2000) (quotation marks omitted). Reading the residual clause of

Section 18031(e) as authorizing the HHS Secretary to order the public disclosure of net prices,

when Congress elsewhere in the ACA prohibited the HHS Secretary from publishing

information about health plan or PBM rebates and discounts, would improperly pit the two

statutory provisions “at war with one another.” Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1619

(2018). And it would implausibly allow the HHS Secretary to turn a general statutory provision

into one that is inconsistent with a “more specifi[c]” statutory provision that expresses

Congress’s intent. Brown & Williamson Tobacco, 529 U.S. at 133. Far from showing that the

disclosure of historical net prices is appropriate, Section 1320b-23 shows that Congress wanted

to keep confidential, rather than publicize, information about PBM discounts that underlie any

given drug’s net price.

       126.    Agencies cannot regulate beyond their statutory authorization. The Departments’

attempt to smuggle in consequential forced disclosures of historical net prices through a residual

clause that follows a list of enumerated information that looks nothing like historical net prices

cannot be squared with Congress’s terms. The Transparency Rule’s requirement that plans

disclose historical net prices thus exceeds the Departments’ statutory authority and violates the

APA.




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               3.      The Historical Net Price Disclosure Requirement Is Arbitrary And
                       Capricious

       127.    Even if this Court were to conclude that the historical net price disclosure

requirement was a logical outgrowth of the Proposed Rule and that the Departments have the

statutory authority to regulate in this manner, the requirement still must be vacated as arbitrary

and capricious and contrary to the APA for multiple reasons.

                     i.        Requiring Disclosure Of Historical Net Prices Is Arbitrary
                               And Capricious Because It Will Create Harmful,
                               Counterproductive Consequences

       128.    The historical net price disclosure requirement is arbitrary and capricious because

it will not achieve its objective of lowering out-of-pocket medical spending and will only harm

plan beneficiaries by raising premiums and undermining the delivery of value-based care.

                               a.     The Requirement Will Increase Drug Prices Because
                                      Public Disclosure Of Competitively Sensitive Pricing
                                      Information Will Undermine PBMs’ Bargaining Power

       129.    The historical net price disclosure requirement should be vacated because the

Departments failed to adequately address the effect of forced net price disclosures on PBM

bargaining power and, ultimately, prescription drug prices. The Departments repeatedly

emphasized their “view that public availability of,” among other things, “historical net prices for

prescription drugs” could help “slow or potentially reverse the rising cost of health care items

and services.” 85 Fed. Reg. at 72212. But that conclusion is contrary to the evidence that was

before the Departments.

       130.    As PCMA explained in its comments on the Proposed Rule, “releasing net drug

prices would cause net drug prices to rise.” PCMA Comment Letter, supra, at 11. PBMs’

bargaining power and ability to achieve significant price concessions from manufacturers

depends on their ability to conduct private negotiations, maintaining the minimum level of



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discounts needed to achieve formulary coverage or preferred status as trade secrets that are not

openly available to all manufacturers. Public disclosure of this sensitive pricing information

would make it harder to negotiate and, thus, to save costs for plans and their enrollees.

       131.    Generally, when a manufacturer has insights into the minimum level of discounts

needed to achieve formulary coverage or preferred status, the manufacturer will rationally begin

to pull back on more aggressive offers. Why offer a better deal than necessary? And because for

some medical conditions there are relatively few treatments available, a seller can gain the upper

hand and increase its margin with only a few data points. In effect, the public availability of

pricing information allows tacit collusion between manufacturers, who will not be willing to

offer prices below their competitors. Without the leverage afforded by the existing system of

confidential net prices, the ability of PBMs to extract price concessions from manufacturers

would be significantly weakened, and the total net cost paid by health plans and health insurance

issuers and their enrollees would therefore increase.

       132.    Other federal agencies agree that government-enforced price disclosures will raise

prescription drug costs by reducing PBMs’ ability to negotiate affordable drug prices. The CBO,

for example, recognized that “[t]he markets for some health care services are highly

concentrated, and increasing transparency in such markets could lead to higher, rather than

lower, prices.” CBO Transparency Study, supra, at 4. In “highly concentrated” markets such as

the prescription drug market, “where only a small number of firms operate, increased

transparency would make it easier for those firms to observe the prices charged by their rivals,

which could lead to reduced competition between them.” Id. Hence, “reduced competition

might result if more transparent pricing revealed the prices negotiated between insurers and

providers.” Id.




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       133.    The FTC shares the CBO’s view of the damaging effect of forced disclosure of

drug prices. Based on “extensive . . . experience with PBMs,” the FTC has explained, “[i]f

pharmaceutical manufacturers learn the exact amount of the rebates offered by their

competitors . . . then tacit collusion among manufacturers is more feasible,” so that government-

mandated disclosures “may lead to higher prices for . . . pharmaceuticals.” FTC Letter, supra, at

3, 9. Rules requiring such disclosure thus “may have the unintended consequences of limiting

competition, thus increasing the cost of pharmaceuticals” by “mak[ing] it more difficult for

PBMs to generate cost savings (including rebates).” Id. at 2.

       134.    The Departments failed to adequately address these concerns. Although the

Departments acknowledged, in response to comments, the CBO’s and “FTC’s concerns about the

potential negative impacts of price transparency on competition in the health insurance markets,

including the possibility that providers (or sellers) will coordinate their behavior or bid less

aggressively, leading to higher prices,” 85 Fed. Reg. at 72257, the Departments offered no

meaningful response.

       135.    The Departments simply asserted that the “Federal Government maintains laws

and processes to investigate reports of collusive or other anticompetitive practices.” 85 Fed.

Reg. at 72258; see also id. at 72173 (discussing the Sherman Antitrust Act). But that is no

answer to concerns over “[t]acit collusion” or “conscious parallelism,” which is “not in itself

unlawful” under the antitrust laws. Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp.,

509 U.S. 209, 227 (1993).

       136.    The Departments also fell back on “studies that have investigated the impact of

price transparency on other, non-health care markets,” 85 Fed. Reg. at 72173, but they made no

effort to explain why those studies would be applicable here, see id. at 72162 (discussing studies




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on automobile, life insurance, and airline pricing). They would not. Unlike the industries the

Departments cites, the markets for some healthcare services are “highly concentrated,” as CBO

has recognized. CBO Transparency Study, supra, at 4. There is no reason to believe—and the

Departments offered no reason to suggest—that negotiating formulary placement with a drug

manufacturer is subject to the same market dynamics as the standard consumer transaction in

these other industries.

       137.    Because the Departments failed to adequately account for the effect of forced

disclosure of historical net prices on PBM bargaining power, they failed to address the obvious

and well-documented counterproductive consequences of the final Rule. The historical net price

disclosure requirement is therefore arbitrary and capricious.

                              b.      The Requirement Will Undermine The Delivery Of
                                      Value-Based Care

       138.    The historical net price disclosure requirement also threatens the continued use of

value-based arrangements, which reward healthcare providers with incentive payments based on

the quality of care provided. See CMS, Value-Based Programs (last updated Jan. 6, 2020),

https://www.cms.gov/Medicare/Quality-Initiatives-Patient-Assessment-Instruments/Value-

Based-Programs/Value-Based-Programs.

       139.    Then-Secretary Azar previously declared that “[v]alue-based transformation of

our entire healthcare system is a top HHS priority.” HHS Blueprint to Lower Drug Prices and

Reduce Out-of-Pocket Costs, 83 Fed. Reg. 22692, 22696 (May 16, 2018). And the industry is

making great strides to further that priority. As of the middle of 2018, there were at least 40

value-based contracts underway between commercial or public payers and drug manufacturers.

See PhRMA, Value-Based Contracts: 2009 – Q2 2018 (June 21, 2018), http://phrma-docs.

phrma.org/files/dmfile/PhRMA_ValueBasedContracts_Q2.pdf. Commercially insured patients



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in health plans with value-based contracts for diabetes, high cholesterol, and HIV medicines had

copays that were, on average, 28% lower for those medicines compared to patients in other

plans. See PhRMA, Value-Based Contracts May Lower Patients’ Out-of-Pocket Costs by 28

Percent (Feb. 26, 2018), https://www.phrma.org/press-release/value-based-contracts-may-lower-

patients-out-of-pocket-costs-by-28-percent. Many organizations participating in a recent CMMI

demonstration chose prescription drug-based interventions, showing there is great appetite for

value-based arrangements when all parties are adequately protected from risk. See CMS,

Medicare Advantage Value-Based Insurance Design Model (last updated Dec. 14, 2020), https://

innovation.cms.gov/initiatives/VBID.

       140.    The forced disclosure of historical net prices, however, will send the wrong signal

to market participants, undermining the delivery of value-based care.

       141.    Mandatory disclosure of historical net prices could lead purchasers of group

health insurance to focus on the unit prices of drugs purchased by their issuers and PBMs, rather

than the value of the mix of drugs covered and dispensed. For example, an issuer’s higher net

price for certain brand-name drugs may not mean higher costs if the issuer is effective at moving

enrollees to lower-cost therapeutic alternatives, including generics. To the contrary, a higher net

price for a brand-name drug that is rarely dispensed is likely evidence of a PBM’s efficiency at

driving generic substitution. A third party’s drug-by-drug analysis would likely miss this

dynamic, sending the wrong market signals about how a PBM performs. This can lead

consumers astray, encouraging them to choose less efficient plans that are not effective at

reducing costs through generic substitution.

       142.    The Departments do not address how creating a fixation on unit prices could

undermine the delivery of value-based care. This is not reasoned decisionmaking.




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                    ii.       The Departments Departed Without Reason Or Explanation
                              From Prior Agency Positions

       143.    The historical net price disclosure requirement is arbitrary and capricious for

another reason: It departs without explanation from prior agency policy and practice. Under

bedrock principles of administrative law, an agency “changing its course must supply a reasoned

analysis.” Lone Mountain Processing, Inc. v. Sec’y of Labor, 709 F.3d 1161, 1164 (D.C. Cir.

2013) (quoting Greater Boston Television Corp. v. FCC, 444 F.2d 841, 852 (D.C. Cir. 1970)).

This principle ensures that an agency policy or practice is “being deliberately changed, not

casually ignored.” Id. As a result, an “‘[u]nexplained inconsistency’ in agency policy is ‘a

reason for holding an interpretation to be an arbitrary and capricious change from agency

practice.’” Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016) (alteration in

original) (quoting Nat’l Cable & Telecommc’ns Ass’n v. Brand X Internet Servs., 545 U.S. 967,

981 (2005)). And here, there are multiple unexplained inconsistencies in the Departments’

approach.

       144.    First, the Departments’ single-minded focus on transparency here cannot

reasonably be squared with CMS’s more cautious, confidentiality-protective approach adopted

with respect to the agency’s cornerstone prescription drug program (Medicare Part D). CMS

(like the FTC and CBO) has recognized that PBMs’ ability to maintain the confidentiality of

sensitive financial information plays a critical role in keeping drug prices low. See PCMA

Comment Letter, supra, at 17-18. As CMS explained, Medicare Part D “is based on a

competitive business model,” and “releas[ing] commercially or financially sensitive data to the

public could negatively impact Part D sponsors’ ability to negotiate for better prices, and

ultimately affect the ability of sponsors to hold down prices for beneficiaries and taxpayers.”

Medicare Program; Medicare Part D Claims Data, 73 Fed. Reg. 30664, 30668 (May 28, 2008).



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Accordingly, CMS has recognized the strong “need to protect the sensitive data under the Part D

program,” id., and has adopted regulations that retain the confidentiality of “commercially

sensitive data of Part D sponsors,” 42 C.F.R. § 423.505(m)(1)(iii).

       145.    The historical net price disclosure requirement takes an entirely different

approach, forcing health plans and issuers, including their PBMs, to disclose highly sensitive

financial information. See supra ¶¶ 85-86, 130-33. Gone are the days of HHS, through CMS,

acting on the basis that disclosing drug prices to the public would increase drug prices. Now,

HHS (alongside Treasury and DOL) takes the exact opposite view, claiming that it can “slow or

potentially reverse” the purported rising cost of prescription drugs through disclosure rather than

confidentiality. Transparency Rule, 85 Fed. Reg. at 72212; see also supra ¶ 89. Yet the

Departments do not even acknowledge, much less reasonably explain, this inconsistency.

       146.    Second, and as detailed above, supra ¶¶ 138-42, HHS has previously declared that

“[v]alue-based transformation of our entire healthcare system is a top HHS priority.” HHS

Blueprint, 83 Fed. Reg. at 22696. But focusing on unit prices could undermine the industry’s

transition to the value-based approaches HHS has long championed. Supra ¶¶ 140-42.

                      iii.    The Departments Failed To Explain How Historical Net Prices
                              Help Consumers Make Informed Decisions

       147.    The APA requires agencies to “articulate a satisfactory explanation for its action

including a ‘rational connection between the facts found and the choice made.’” Motor Vehicle

Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quoting

Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962)). Here, the Departments

failed to articulate a coherent connection between the disclosure of historical net prices and the

Departments’ purported goal of helping consumers make informed choices when purchasing

prescription drugs.



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       148.    The Departments stated that disclosure of historical net prices “could” help

“consumer health care purchasing decisions.” Transparency Rule, 85 Fed. Reg. at 72238. In the

Departments’ view, disclosing information about historical net prices could make consumers

“aware of situations where cost-sharing liability for a prescription drug exceeds the amount their

plan or issuer ultimately paid for the prescription drug,” and in “these situations,” consumers

“will be able to make an informed decision regarding whether to utilize their plan or coverage

when purchasing the prescription drug.” Id.

       149.    The Departments failed to explain why consumers would base their drug-

purchasing decisions on “the amount their plan or issuer ultimately paid” rather than on their

own out-of-pocket costs. Nor could they provide a reasonable explanation. As discussed, when a

consumer purchases a prescription drug, the consumer’s out-of-pocket costs are either a fixed

dollar amount or a percentage of the price charged at the pharmacy counter before applying

manufacturer price concessions. See supra ¶¶ 8, 40. Historical net prices are not part of that

equation. They are simply not helpful to consumers who seek to anticipate their individual costs

for given drug purchases—as reflected by the fact that historical net prices do not appear on

consumers’ bills. See PCMA Comment Letter, supra, at 1; CVS Health Comment Letter on

Information Collection Request, supra, at 2. Requiring disclosures that provide no actionable

transparency for consumers does not further the Departments’ goal of helping consumers make

informed decisions.

       150.    The Departments’ rational decision to exclude historical net prices from the

separate internet-based self-service tool required by the Rule only underscores the irrationality of

requiring disclosure of that information through machine-readable files. The self-service tool

requirement, which PCMA supports, already requires plans and issuers to disclose estimates of a




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consumer’s cost-sharing liability. See supra ¶¶ 64, 84. This information directly relates to a

consumer’s own out-of-pocket costs, which helps consumers “make an informed decision

regarding whether to utilize their plan or coverage” when purchasing a drug. Transparency Rule,

85 Fed. Reg. at 72238. The Departments failed to explain why it is necessary to mandate the

public disclosure of historical net prices when another part of the Rule already provides

consumers with information about how much they have to pay to purchase prescription drugs—

the information consumers care about.

                     iv.       The Departments Failed To Consider A Reasonable, Less
                               Restrictive Alternative

       151.    Finally, the historical net price disclosure requirement is also arbitrary and

capricious because the Departments failed to even consider whether a less burdensome

alternative was available that could at least reduce—though by no means eliminate—the Rule’s

anticompetitive effects, such as by limiting disclosures of historical net prices to older data that is

not as competitively sensitive and therefore less likely to skew market negotiations in real time.

       152.    “An agency is required to consider responsible alternatives to its chosen policy

and to give a reasoned explanation for its rejection of such alternatives.” Am. Radio Relay

League, Inc. v. FCC, 524 F.3d 227, 242 (D.C. Cir. 2008) (quotation marks omitted). While this

standard does not “broadly require an agency to consider all policy alternatives in reaching [a]

decision,” Motor Vehicle Mfrs. Ass’n of U.S., 463 U.S. at 51, an agency must at least consider

those alternatives that are “significant and viable,” Farmers Union Cent. Exch., Inc. v. FERC,

734 F.2d 1486, 1511 n.54 (D.C. Cir. 1984).

       153.    Here, however, the Departments arbitrarily elected to require disclosure of

historical net prices for the 90-day period “beginning 180 days before the date a particular

[machine-readable file] is published.” Transparency Rule, 85 Fed. Reg. at 72237. Disclosing



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such recent data increases the risk of “anticompetitive effect[s].” PCMA Comment Letter on

Information Collection Request, supra, at 5. As discussed, the disclosure of historical net price

information generally opens the door to tacit collusion among drug manufacturers. See supra

¶¶ 46-47, 79. The Departments’ decision to disclose historical net price information that is

between 90 and 180 days old gives manufacturers a nearly real-time window into net prices,

which increases the risk of (and effectiveness of) tacit collusion.

       154.    An obvious alternative—which might have at least “mute[d] some of the

anticompetitive effect[s]” of the historical net price disclosure requirement, while not eliminating

those effects entirely—would have been to impose a meaningful delay between when net prices

are paid and when they are publicly revealed, such as data that is at least three years old. PCMA

Comment Letter on Information Collection Request, supra, at 5. While disclosing any historical

net price information facilitates tacit collusion, the “prescription drug market changes fairly

rapidly,” so disclosing more recent information is more impactful. Id. New drugs are approved

or lose patent exclusivity with frequency, which increases competition among brands and with

generics. Id. And the discounts needed to secure preferred formulary position three years before

a machine-readable file is published may be less closely related to the composition of the

prescription drug market in the current plan year, meaning that lagged net price information

would have less salience to current manufacturer and PBM negotiations. Id. To be sure, even

older data would allow drug manufacturers insight into their competitors’ price concession

practices that could strengthen ability to demand higher prices. But given the regular turnover in

the prescription drug market, the release of data that is several years old would at least provide

some tangible reduction in the opportunity for the tacit collusion as compared to the disclosure of

recent data. Id. Conversely, the Departments have never articulated any reason why disclosing




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more recent net price information would assist consumers in comparing competing plans or

anticipating their out-of-pocket expenses—because the reality is that it does not assist consumers

at all and provides no meaningful transparency to consumers.

       155.    PCMA did not suggest this alternative during the comment period for the

Proposed Rule because the Proposed Rule gave no indication that the Departments were

considering any disclosure requirement related to net price, let alone near-real-time historical net

price information. But the alternative should have been obvious enough because the

Departments had to choose a time period for the disclosure. And PCMA did ultimately identify

the alternative after the Rule was promulgated—not as a panacea to the Rule’s flaws, but at least

as a less harmful option. See PCMA Comment Letter on Information Collection Request, supra,

at 5. The Departments cannot hide behind commenters’ failure to anticipate and propose an

alternative to a requirement not even hinted at in the Proposed Rule.

       156.    Although this alternative should have been obvious, the Departments never

considered it. And the Rule offers no evidence or reasoning suggesting that disclosing more

recent net price information in anyway better achieves the Departments’ objectives than

disclosing information old enough to mitigate its impact on the industry. The Departments’

requirement to disclose effectively real-time net price information is thus arbitrary and

capricious. See Comcast Corp. v. FCC, 579 F.3d 1, 8 (D.C. Cir. 2009) (rejecting the FCC’s 30%

subscriber cap as arbitrary and capricious because the agency failed to “examine the relevant

data and articulate a satisfactory explanation for its action” (alterations and quotation marks

omitted)).

       157.    By failing to consider this obvious alternative, the Departments have failed to

engage in reasoned decisionmaking.




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       B.      The Transparency Rule’s Machine-Readable File Requirement Is Unlawful

       158.    The Transparency Rule’s method for disclosing historical net prices and other

information—through machine-readable files—is likewise unlawful, for two reasons. First, the

machine-readable file requirement is inconsistent with the ACA’s command that plans

themselves (not third parties) must disclose information to the public, and that they must do so in

“plain language.” Machine-readable files flunk those requirements because the information

contained in those files cannot readily be understood or used by ordinary consumers. Those files

are composed of data sets designed to be automatically read and processed by computers, not

human beings. Second, the machine-readable file requirement is arbitrary and capricious

because the Departments failed to consider key defects in the use of machine-readable files.

               1.      Machine-Readable Files Do Not Comply With The ACA’s “Plain
                       Language” Requirement

       159.    The ACA requires that plans disclose certain information “to the public,” and that

information must be “provided in plain language” so that “the intended audience, including

individuals with limited English proficiency, can readily understand and use” the information.

42 U.S.C. § 18031(e)(3)(A), (B). The meaning of the statute is straightforward: Plans must

disclose information to the public in a format that is understandable to the public. The

Transparency Rule, however, requires plans to disclose information in a machine-readable file

format that only third parties can understand, in the hopes that third parties, in turn, will

independently create tools that may allow consumers to understand the information contained in

the machine-readable files. That aspect of the Rule is irreconcilable with the ACA’s “plain

language” requirement.

       160.    Congress made plans, not any third party using disclosed information, directly

responsible for ensuring that the disclosed information is understandable. The parallel language



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of paragraphs (A) and (B) of the disclosure provision, 42 U.S.C. § 18031(e)(3), makes this plain.

Under paragraph (A), Exchanges may require “health plans” to “submit” certain information to

the exchange and the government, and “make [that information] available to the public.” Id.

§ 18031(e)(3)(A) (emphasis added); see also 42 U.S.C. § 300gg-15a (extending these same

requirements to “group health plan[s]” and “health insurance issuer[s] offering group or

individual health insurance coverage”). Paragraph (B), in turn, specifies that the “information

required to be submitted under subparagraph (A)”—that is, the information submitted by plans—

“shall be provided in plain language.” Id. § 18031(e)(3)(B). Accordingly, the ACA’s plain-

language requirement applies to the transmission of information by plans, not by third-party

intermediaries who obtain that information from plans and may or may not accurately decipher

that information before passing it on to the public.

       161.    Nor is it sufficient that the third parties themselves be able to understand the

disclosure. To satisfy the ACA’s plain-language requirement, plan disclosures must be

understandable to the public, not to third parties. The statute defines “plain language” to mean

“language that the intended audience, including individuals with limited English proficiency, can

readily understand and use because that language is concise, well-organized, and follows other

best practices of plain language writing.” 42 U.S.C. § 18031(e)(3)(B). And both paragraphs (A)

and (B) make clear that the “intended audience” that must be able to “understand and use” the

disclosure means the general public, including plan beneficiaries. Paragraph (A) requires plans

to make the same required disclosures both to “the Exchange, the Secretary [of HHS], [and] the

State [operating the Exchange],” and “to the public.” Id. § 18031(e)(3)(A) (emphasis added).

And paragraph (B) expressly says that the “intended audience” “include[s] individuals with

limited English proficiency”—i.e., ordinary consumers, not computer processors or sophisticated




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third parties with such equipment and the necessary technical expertise to run them. Id.

§ 18031(e)(3)(B).

       162.    This interpretation—that the plans’ submitted information must be directly

understandable to consumers, not machines or third parties such as app developers—is

reinforced by the Departments’ definition of “plain language” in other parts of the Transparency

Rule. In the context of the self-service tool for cost-sharing information, the Transparency Rule

“define[s] ‘plain language’ to mean [information] written and presented in a manner calculated

to be understood by the average participant, beneficiary, or enrollee.” Transparency Rule, 85

Fed. Reg. at 72179 (emphasis added).

       163.    Applying the ACA’s straightforward statutory language here, the Transparency

Rule’s requirement that plans disclose drug pricing information through machine-readable files

does not comport with the statutory requirement that plans disclose information to the public in a

format that is understandable to the public.

       164.    Indeed, the Departments conceded in the Transparency Rule’s preamble that

machine-readable files do not provide information in “plain language” to ordinary readers. They

candidly acknowledged “the information included in the machine-readable files may not be easy

for an average consumer to navigate.” Transparency Rule, 85 Fed. Reg. at 72234; see also id. at

72215 (asserting that disclosure of “pricing information through the machine-readable files” will

benefit consumers “even if it is difficult to navigate for the average consumer without the use of

internet-based tools or applications”).

       165.    The Departments are correct. As even a cursory review of a sample machine-

readable file makes clear, see supra ¶ 94 and Ex. A, machine-readable information—a digital

representation of data that uses particular formats such as JSON, XML, or CSV and that can be




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imported or read by a computer system, see supra ¶ 68—cannot be readily understood or used by

members of the public with limited English proficiency. A lengthy list of coding cannot be

understood by an ordinary person. After all, machine-readable information is by definition

designed to be read by a computer, not a person.

       166.    Moreover, the Transparency Rule requires plans and issuers to include in

machine-readable files an avalanche of data so overwhelming that an ordinary person cannot

meaningfully process it, even if they could read the file itself, despite the ACA’s requirement

that disclosures be “concise.” 42 U.S.C. § 18031(e)(3)(B). A given plan’s machine-readable file

will collectively include information about all historical net prices of all drugs for a given period

of time. But the vast majority of the information in each machine-readable file is not relevant to

any given consumer, who may be purchasing only a single drug. It would be impractical and

cumbersome, to say the least, for a consumer to comb through the numerous transactions and

pieces of information in a single machine-readable file to identify the entries relevant to the

purchase of a particular prescription drug from a particular pharmacy. See Transparency Rule,

85 Fed. Reg. at 72240 (“The Departments are aware that these files could be very large and

could be difficult for laypersons to navigate.”).

       167.    Even if consumers could identify and understand the entries for individual drug

sales, moreover, that information is not what they are interested in. Instead, consumers want

“aggregate” data. Transparency Rule, 85 Fed. Reg. at 72241. The machine-readable file,

however, provides line-by-line, granular data that is unhelpful and “no[t] actionable” for

consumers. PCMA Comment Letter, supra, at 2.

       168.    It is no answer, as the Departments claimed, to recharacterize the ACA’s intended

audience as third-party “researchers” and “application developers” who can use machine-




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readable files to in turn create “easy-to-use” tools “that will present information to laypersons in

easy-to-understand, plain language.” Transparency Rule, 85 Fed. Reg. at 72169. The prospect

that consumers might in theory, as downstream benefactors, eventually obtain understandable

information from third parties does not change the conceded fact that the machine-readable files

themselves are not in plain language. See supra ¶¶ 91, 94, 168. And if the machine-readable

files themselves are not in plain language, the Transparency Rule does not comport with the

statutory language imposing on plans the duty to submit information to the public. See supra

¶¶ 159-61.

       169.    Making plans, rather than third parties, responsible for providing understandable

information to the public furthers Congress’s goal of informing consumers about their health-

care options because it reduces the risk of consumer confusion. Plans must answer to the

Departments for the information they disclose, so there is a direct line of accountability between

the speaker and the regulator. In addition, plans have the context to provide accurate, actionable

information to consumers. Unlike third parties such as researchers, plans have an established

relationship with covered beneficiaries and potential customers. Accordingly, plans can give

consumers individualized (i.e., useful) information that reflects what a consumer actually pays at

the counter under the consumer’s specific plan coverage in light of the prior payments that may,

for example, count towards the consumer’s deductible.

       170.    Conversely, “[t]hird parties who use the machine-readable files to present

information to consumers are not accountable” to the Departments, and therefore may provide

inaccurate, misleading, or confusing information. PCMA Comment Letter, supra, at 13-14.

Third parties lack access to consumers’ individual plan and coverage history, so they cannot

accurately advise consumers about the cost of an individual drug purchase. Indeed, the




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disclosure of historical net prices to consumers at all runs the risk of misleading consumers

because, as commenters explained, consumers generally do not pay net prices. Giving

consumers an overload of information that does not reflect what they actually “pay for a drug at

the pharmacy counter under their plan” does not advance the Departments’ goal of giving

consumers more knowledge to make an informed decision about what plan they want to enroll

in. CVS Health Comment Letter on Information Collection Request, supra, at 2; see also

UnitedHealth Group Comment Letter on Information Collection Request, supra, at 6 (“[T]he

inclusion of historical net price does not follow CMS’ stated intent of the transparency rule,

which is to enable patients to shop for healthcare items and services most efficiently.”).

       171.    Finally, there is no assurance that third parties will actually develop plain-

language tools or products that help consumers understand the disclosures. The Transparency

Rule does not regulate these third parties or require them to develop helpful tools or products.

The Departments’ predictions that third parties will “be incentivized” to do so, Transparency

Rule, 85 Fed. Reg. at 72214, is no substitute for statutory terms that require direct, rather than

indirect, plain-language disclosures from plans to consumers.

       172.    Accordingly, the Transparency Rule’s requirement that plans disclose information

in machine-readable files is inconsistent with the ACA’s “plain language” requirement.

               2.      The Machine-Readable File Requirement Is Arbitrary And
                       Capricious

       173.    The machine-readable file requirement is also arbitrary and capricious for three

independent reasons: It will not achieve the Rule’s intended purposes, the Departments’ cost-

benefit analysis is fatally flawed, and the Departments imposed an unrealistically short

implementation timeline for the machine-readable files.




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                      i.       The Rule Will Not Achieve Its Intended Purpose

       174.     The Departments acted unreasonably in imposing a mandate to disclose machine-

readable files because that format will not further the Transparency Rule’s asserted goals. An

agency acts unreasonably where it “never established a reasonable connection between its stated

purpose” and the regulatory means “selected” to implement that policy. Farmers Union, 734

F.2d at 1523.

       175.     Here, the primary stated objective of the Transparency Rule’s disclosure

requirements is to “help consumers” to “evaluate their options” while shopping for coverage.

Transparency Rule, 85 Fed. Reg. at 72168. The Departments assert that “the information the

final rules require to be disclosed … has a direct nexus to” that objective, id. at 72175 (emphasis

added), even though the means the Departments chose are admittedly indirect—i.e., disclosure to

third parties. The Departments concede that the “raw data” contained in the machine-readable

files “is likely to be difficult for the average consumer to understand and effectively use,” but

maintain that these requirements could still “ultimately” help consumers by indirect chains of

causation: “For instance, third-party developers could develop mobile applications” that

translate the disclosed data into a form that is actually useful for consumers. Id. at 72210. The

Departments simply “assumed” that such innovation would “materialize” to make this

connection. Id. at 72215.

       176.     But as AHIP and other stakeholders noted in comments on the Proposed Rule,

“the machine-readable provisions” would actually “not advance” the Departments’ stated goals

for several reasons, including that “the preponderance of consumers do not want to obtain

information about costs from a third-party,” as the Departments assumed. AHIP Comment

Letter, supra, at 6, 31; see also UnitedHealth Group Comment Letter, supra, at 14 (offering

additional reasons why the disclosed information “will not necessarily be useful” to consumers


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“even with the assistance of a third-party application”). “[N]early every individual and group

health plan parent organization already offers enrollee-specific cost-sharing self-service tools.”

PCMA Comment Letter, supra, at 14. These tools provide actionable information, clearly

disclosing the amounts a consumer will actually pay based on that consumer’s actual benefits.

“Tools created outside of the plan’s purview,” in contrast, would likely be “duplicative and

w[ould] only confuse enrollees, particularly given third parties are not accountable to enrollees to

provide accurate information and do not have all context to provide consumers with accurate,

actionable information.” Id.

                     ii.       The Cost-Benefit Analysis Is Fatally Flawed

       177.    The Departments also acted unreasonably by failing to adequately quantify and

assess the costs and benefits of the machine-readable file requirement. See, e.g., Sorenson

Commc’ns Inc. v. FCC, 755 F.3d 702, 708-09 (D.C. Cir. 2014) (holding that agency action based

on “sheer speculation” rather than “evidence” was arbitrary and capricious). As the U.S.

Chamber of Commerce noted, the Proposed Rule itself listed some “10 specific cost elements

that it did not attempt to quantify,” failed to account for some costs altogether, and “grossly

underestimated” other costs while failing to quantify offsetting benefits. U.S. Chamber

Comment Letter at 7-8 (Jan. 29, 2020), www.regulations.gov/comment/CMS-2019-0163-19418.

       178.    The final rule similarly failed to quantify relevant costs and benefits. The Rule

identifies 14 specific costs that the Departments never attempted to quantify, including the

“increase in cyber security costs . . . to prevent data breaches,” the “increase in health care costs

if consumers confuse cost with quality and value of service,” the cost “to conduct quality control

reviews of the information” required to be disclosed in the machine-readable files, the costs of

“renegotiat[ing] contracts in order to remove gag clauses in order” to disclose the information

required by the final rule, and the “increase in costs to consumers and issuers if providers or


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prescription drug manufacturers engage in anticompetitive behaviors.” Transparency Rule, 85

Fed. Reg. at 72260. Because these costs could be significant, the Departments’ failure even to

attempt to quantify them is arbitrary and capricious.

                    iii.      The Implementation Date For The Machine-Readable Files Is
                              Arbitrary And Capricious

       179.    Even if the machine-readable file requirement could be justified, the Departments

did not allow sufficient time to implement that requirement. Developing machine-readable files

is a time-consuming, resource-intensive process. Health plans must develop new IT systems,

develop new data-collection processes, test those processes, and renegotiate contracts that

prohibit the disclosure of information that must be disclosed under the Transparency Rule. See

supra ¶ 77. Moreover, rushing out the machine-readable files could compromise the integrity of

the files and, given the “volume of data being aggregated,” introduce “additional opportunity for

error” that would in turn harm consumers by providing them with incomplete or inaccurate

information. WellFirst Health Comment Letter at 9 (Jan. 29, 2020),

https://www.regulations.gov/comment/CMS-2019-0163-19274. Because of these concerns,

commenters urged the Departments to provide a multi-year window between the final rule’s

effective date and the date by which plans must implement the machine-readable file

requirement, rather than the one-year window proposed by the Departments. AHIP Comment

Letter, supra, at 40, 42 (proposing a three-year window); UnitedHealth Group Comment Letter,

supra, at 26 (same).

       180.    The Departments acknowledged that the “majority of commenters strongly

recommended delaying the proposed applicability date for the . . . machine-readable file

requirements.” Transparency Rule, 85 Fed. Reg. at 72252 (emphases added). But the

Departments dismissed these industry participants’ practical, experience-based concerns, and



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stuck with a one-year implementation window—meaning that the relevant provisions regarding

“requirements for public disclosure” of machine-readable files would “apply for plan years

beginning on or after January 1, 2022.” Id. at 72304; see also id. at 72252. The Departments

were “of the view that developing the machine-readable files should be straightforward for most

plans and issuers” because the “development activities needed to establish the machine-readable

files involve gathering, formatting, and making publicly available already existing data.” Id. at

72253. Moreover, the Departments stated that plans “will incur limited additional administrative

burdens or costs after the one-time initial file development.” Id. (emphasis added).

       181.    The Departments’ response missed the mark. The problem was never that the

data for machine-readable files did not “exis[t].” Transparency Rule, 85 Fed. Reg. at 72253.

The problem was that it would take more than a year to develop the necessary systems to collect

data that was scattered across different platforms, process the data, and convert the data into

machine-readable files. See supra ¶¶ 77-78. As commenters confirmed in response to CMS’s

request to collect information in 2021, the machine-readable files would require plans to

“compile and organize the large volume of health data spread across multiple systems and

platforms.” CVS Health Comment Letter on Information Collection Request, supra, at 4.

Moreover, the Departments’ prediction that plans’ administrative burdens would diminish over

time is beside the point: Commenters expressed concern that the Transparency Rule imposes

burdens that hinder plans’ ability to comply in the first instance with the machine-readable file

requirement by January 2022, when that requirement became effective. See supra ¶ 78. The

Departments’ explanation for retaining the applicability date for the machine-readable files thus

failed to meaningfully engage with commenters’ actual concerns.




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       182.    Making the rushed rollout of the machine-readable requirement even more dire

was the COVID-19 pandemic and other disclosure mandates imposed by another CMS rule, each

of which required plans to stretch their resources ever thinner. UnitedHealth Group Comment

Letter on Information Collection Request, supra, at 2. CMS’s Health Plan Interoperability Rule,

for its part, attempts to modify health information technology systems so that health information

and data can be exchanged more easily between systems. See Medicare and Medicaid

Programs; Interoperability and Patient Access, 85 Fed. Reg. 25510, 25511-12 (May 1, 2020).

The rule requires qualified health plan issuers (among others) to implement and maintain a

“Patient Access API,” or Application Programming Interface, that would allow third-party

applications to retrieve data held by such plans. Id. at 25513. These “data exchange[s] must be

fully implemented by January 1, 2022,” id. at 25513—meaning that health plans and issuers have

been driving to meet concurrent deadlines for both the Health Plan Interoperability Rule and the

Transparency Rule, each of which requires its own set of significant administrative investments.

Given the investments of time and manpower that plans were making to comply with the CMS

interoperability rule, plans were not realistically positioned to invest the “innumerable hours and

dollars” necessary to “buil[d] up their IT systems to comply” with the Transparency Rule in the

same timeframe. PCMA Comment Letter on Information Collection Request, supra, at 6-7.

       183.    The Departments’ rejection of commenters’ concerns about the implementation

timeline was even more puzzling because previous experiences had shown that “[t]wo years is a

bare minimum to stand up a new reporting paradigm.” PCMA Comment Letter on Information

Collection Request, supra, at 7. In January 2020, for example, CMS detailed a collection of

certain prescription benefit information that PBMs must provide to HHS under a different

provision of the ACA. See CMS, Supporting Statement for Pharmacy Benefit Manager




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Transparency for Qualified Health Plans at 1, CMS-10725 (Sept. 11, 2020), https://go.cms.gov/

3eDHr1G. That program would not begin collecting data until 2022 at the earliest, see HHS

Notice of Benefit and Payment Parameters for 2022, 85 Fed. Reg. 78572 (Dec. 4, 2020)

(proposed rule). HHS appeared to recognize the time and resources it takes to construct a new

data-reporting regime in that context, but—along with DOL and Treasury—discarded the same

considerations when promulgating the Transparency Rule.

       184.    Like the machine-readable file requirement itself, therefore, the Transparency

Rule’s timeline for implementing that requirement is arbitrary and capricious.

                                          COUNT I
                                     (CONTRARY TO LAW)

       185.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

       186.    The Transparency Rule constitutes final agency action.

       187.    PCMA and its members are adversely affected and aggrieved by the challenged

portions of the Rule.

       188.    The Transparency Rule’s requirement that plans and issuers disclose historical net

prices exceeds the Defendants’ statutory authority because the statute does not permit the

Departments to require the disclosure of that type of information.

       189.    The Transparency Rule’s machine-readable file requirement also violates the

ACA’s requirement that information submitted and disclosed by plans must be submitted and

disclosed in “plain language,” because machine-readable files cannot be readily understood or

used by ordinary consumers.

       190.    Accordingly, these parts of the Transparency Rule are not in accordance with law,

in violation of 5 U.S.C. § 706(2)(A), and in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right, in violation of 5 U.S.C. § 706(2)(C).



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                                     COUNT II
                        (NOTICE-AND-COMMENT RULEMAKING)

       191.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

       192.    Defendants’ promulgation of the Transparency Rule’s requirement that plans and

issuers disclose historical net prices through a machine-readable file violates the APA’s notice-

and-comment-rulemaking requirement, 5 U.S.C. § 553, because the requirement to disclose

historical net prices was not disclosed in the Proposed Rule and is not a logical outgrowth of the

Proposed Rule.

       193.    Accordingly, this part of the Transparency Rule was promulgated without

observance of procedures required by law, in violation of 5 U.S.C. § 706(2)(D).

                                       COUNT III
                              (ARBITRARY AND CAPRICIOUS)

       194.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

       195.    Defendants’ decision to promulgate the Transparency Rule’s historical net price

disclosure requirement and the machine-readable file requirement was arbitrary and capricious.

Among other things, the Departments: failed to engage in reasoned decisionmaking; to

acknowledge and provide good reasons for changing policy positions; to act in accordance with

the evidence before them; to consider important aspects of the problem they believed they faced;

and to adequately address the costs and benefits of their final action.

       196.    Accordingly, the challenged parts of the Transparency Rule are arbitrary,

capricious, and otherwise not in accordance with law, in violation of 5 U.S.C. § 706(2)(A), and

were promulgated without observance of procedures required by law, in violation of 5 U.S.C.

§ 706(2)(D).




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                                     PRAYER FOR RELIEF

       Plaintiff prays that this Court:

       1)      Declare the Transparency Rule’s historical net price disclosure requirement and

machine-readable file requirement unlawful.

       2)      Vacate and set aside those requirements or, in the alternative, the effective date of

the machine-readable file requirement.

       3)      Award Plaintiff its costs and reasonable attorney’s fees as appropriate.

       4)      Grant such further and other relief as this Court deems just and proper.


                                              Respectfully submitted,


Dated: August 12, 2021                          /s/ Helgi C. Walker
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